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                                     2024-1523; 2024-1525

               United States Court of Appeals
                   for the Federal Circuit
                        DYNAMITE MARKETING, INC.,
                                                   Plaintiff-Appellee,
                                        – v. –
              THE WOWLINE, INC., SHERMAN SPECIALTY LLC,
                          SHERMAN SPECIALTY, INC,
                                               Defendants-Appellants,
           WWW.SUPERIORPROMOS.COM, WWW.USIMPRINTS.COM,
            WWW.4ALLPROMOS.COM, UNKNOWN WEBSITES 1-10,
            VARIOUS JOHN DOES 1-10, UNKNOWN ENTITIES 1-10,
                                                         Defendants.
                       ––––––––––––––––––––––––––––––
                        DYNAMITE MARKETING, INC.,
                                                             Plaintiff,
                                        – v. –
             4TH DIMENSON INNOVATIONS, INC., by and through
               its former officer LaErik Cooper, LAERIK COOPER,
                                                         Defendants.

            On Appeal from the United States District Court for the Eastern
                District of New York in No. 2:19-cv-03067-GRB-LGD

                 BRIEF FOR DEFENDANTS-APPELLANTS
                                                     JEFFREY L. SNOW
                                                     JOSEPH V. MICALI
                                                     PRYOR CASHMAN LLP
                                                     Seven Times Square, 40th Floor
                                                     New York, New York 10036
                                                     (212) 421-4100
                                                     jsnow@pryorcashman.com
                                                     jmicali@pryorcashman.com
                                                     Counsel for Defendants-Appellants

    April 29, 2024

-     COUNSE L PRESS   (800) 4-APPEAL • (327963)
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     U.S. Design Patent D751,877, Claim (Appx28)




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                        FIG. 2
              Case:
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                                                             Filed: 04/29/2024



FORM 9. Certificate oflnterest                                                    Form 9 (p. 1)
                                                                                   March 2023

                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                                 CERTIFICATE OF INTEREST

           Case Number 2024-1523
                     ------------------------
  Short Case Caption Dynamite Marketing, Inc. v. The WowLine, Inc.
   Filing Party/Entity The WowLine, Inc., Sherman Specialty, Inc., and Sherman Specialty LLC


 Instructions:

     1. Complete each section of the form and select none or NIA if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 0311212024                         Signature:    Isl Jeffrey L. Snow

                                           Name:         Jeffrey L. Snow
              Case:
              Case: 24-1523
                     24-1523         Document:
                                     Document: 16
                                                3     Page: 24
                                                      Page:          Filed: 03/12/2024
                                                                     Filed: 04/29/2024



FORM 9. Certificate oflnterest                                                           Form 9 (p. 2)
                                                                                          March 2023


     1. Represented                      2. Real Party in             3. Parent Corporations
         Entities.                           Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(l).            Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of           Provide the full names of        Provide the full names of
 all entities represented by         all real parties in interest     all parent corporations for
 undersigned counsel In              for the entities. Do not list    the entities and all
 this case.                          the real parties if they are     publicly held companies
                                     the same as the entities.        that own 10% or more
                                                                      stock in the entities.
                                     0 None/Not Applicable            0 None/Not Applicable
The WowLine, Inc.

Sherman Specialty, Inc.

Sherman Specialty LLC




                                 □      Additional pages attached
              Case:
              Case: 24-1523
                     24-1523     Document:
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                                                    Page:          Filed: 03/12/2024
                                                                   Filed: 04/29/2024



FORM 9. Certificate oflnterest                                                         Form 9 (p. 3)
                                                                                        March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 □       None/Not Applicable               0         Additional pages attached
Sergei Orel, Gearhart Law, LLC AndrewCooper,Mohen                  Kenneth Kast, Mohen Cooper
                               Cooper LLC                          LLC
Michael Cukor, McGeary Cukor John Donohue, Jr., Falcon Steven Berlowitz, Falcon
LLC                          Rappaport & Berkman PLLC Rappaport & Berkman PLLC
Vincent McGeary, McGeary         David Dehoney, Michelman & Ashley Moore, Michelman &
CukorLLC                         Robinson LLP               Robinson LLP


 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 □    Yes (file separate notice; see below)     @     No       □    NIA (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P . 26.l(b) (organizational victims in criminal cases)
 and 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0       None/Not Applicable               □         Additional pages attached
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            Case: 24-1523
                   24-1523     Document:
                               Document: 16
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                                                            Filed: 04/29/2024




               Addendum to Response to Entry 4 "Legal Representatives"


Jon Gibbs, Lowndes, Drosdick, Doster, Kantor & Reed, P.A.


Todd Soloway, Pryor Cashman LLP


Jeffrey Snow, Pryor Cashman LLP


Joseph Micali, Pryor Cashman LLP
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                      STATEMENT OF RELATED CASES

      No other appeal in or from the same case in the district court was previously

before this Court or any other appellate court.

      Counsel for Defendants-Appellants The WowLine, Inc., Sherman Specialty,

Inc., and Sherman Specialty LLC is not aware of any other cases pending in this or

any other court or agency that will directly affect or be directly affected by this

Court’s decision in the pending appeal.




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                      STATEMENT OF JURISDICTION

      The district court’s jurisdiction over this case, involving claims of patent

infringement, was based, inter alia, on 28 U.S.C. §§ 1331 and 1338(a).

      Jurisdiction before the United States Court of Appeals for the Federal Circuit

is proper pursuant to 28 U.S.C. § 1295(a)(1).

      A Notice of Appeal was timely filed on December 26, 2023, following the

court’s entry of the December 1, 2023 Memorandum & Order and the December

19, 2023 Order on a permanent injunction. An Amended Notice of Appeal was

timely filed on February 14, 2024, following entry of the January 22, 2024 final

Judgment in the United States District Court for the Eastern District of New York.




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                         STATEMENT OF THE ISSUES

      This case presents the following issues for review:

      1.     Whether the district court erred in submitting the inventorship claim,

which is a question of law, to the jury.

      2.     Whether the jury’s verdict should be set aside and the court erred in

denying the motion for judgment as a matter of law (“JMOL”) on inventorship,

and whether the case should be dismissed as a matter of law for Appellee-

Plaintiff’s lack of standing if the purported co-inventor is determined to be an

inventor.

      3.     Whether the jury’s verdict should be set aside and the court erred in

denying the JMOL motion and motions for a new trial on infringement, including

for exclusion of Appellants-Defendants’ expert testimony on the ordinary observer.

      4.     Whether the jury’s verdict should be set aside and the court erred in

denying the JMOL motion and motion for a new trial on invalidity for obviousness

and functionality.

      5.     Whether the jury’s verdict should be set aside and the court erred in

awarding lost profits damages and denying Appellants-Defendants’ motion for

remittitur or for a new trial on damages where (a) the only competent evidence

presented failed to establish that (i) there were no acceptable non-infringing

substitutes or (ii) there was demand for the patented product, under the four-factor


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Panduit test, and (b) there was insufficient non-speculative evidence to quantify

lost profits damages.

      6.     Whether the court erred and abused its discretion in granting

Appellee-Plaintiff’s motion for an award of attorney’s fees.




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                            STATEMENT OF THE CASE

      Appellee-Plaintiff Dynamite Marketing, Inc. (“Dynamite”) brought a patent

infringement claim, asserting U.S. Design Patent D751,877 (“the D’877 patent”),

against Defendants-Appellants The WowLine, Inc., Sherman Specialty, Inc., and

Sherman Specialty LLC (collectively, “Sherman”) at a trial before the district

court.1

      The court conducted a bifurcated jury trial, submitting an inventorship claim

along with ownership issues to the jury in the first phase, and then submitting the

issues of infringement, invalidity, and damages to the jury in the second phase.

Appx5.2 The jury returned two verdicts: the first that the purported co-inventor

failed to prove he had made significant contributions to the claimed design, and the

second that the patent was not invalid for obviousness or functionality, Sherman

infringed the patent, the infringement was willful, and Dynamite proved damages

of $1.85 million. Id.

      After trial, the defendants brought a motion for judgment as a matter of law

(“JMOL”) on the issues of inventorship and Dynamite’s lack of standing, JMOL

motions and motions for a new trial on infringement, invalidity for functionality


      1
        The original complaint contained claims directed, inter alia, to trademark
and trade dress infringement, but these claims were dropped before trial.
Appx2673-74.
      2
          References to pages in the Joint Appendix are abbreviated as Appx__.
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and obviousness, and willfulness. Appx3. Sherman also brought a post-trial

motion for JMOL, remittitur, or a new trial on damages. Id. Dynamite brought a

motion for damages enhancement, attorney’s fees and costs, interest, and a

permanent injunction. Id. The issues of ownership, standing, or equitable estoppel

relating to the inventorship claim were not reached in light of the first verdict.

Appx9.

      In a post-trial Memorandum (Appx1-19), the court denied all of Sherman’s

post-trial motions and granted Dynamite’s motion for attorney’s fees and a

permanent injunction against Sherman. Sherman appeals the court’s denials of the

Defendants’ JMOL motions and motions for a new trial, the jury’s verdict, the

court’s orders in the post-trial Memorandum, and the Judgment entered thereon.

                         STATEMENT OF THE FACTS

      Sherman sets forth the factual background relevant to this appeal.

I.    Dynamite and the D’877 Patent

      The D’877 patent, which issued in the name of Dynamite’s principal, Alex

Shlaferman, relates to the design of a multi-purpose tool that Dynamite sells as a

credit card-sized device under the name “Wallet Ninja.”3 Appx26-30; Appx66. In

addition to features such a box cutter, letter opener, and screwdriver, the patent



      3
      Dynamite later introduced a version called “Wallet Ninja Pro.” Appx6561;
Appx6567.
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design includes a series of hex-shaped cutouts along one edge of the tool in a

mound shape. Appx26-30; Appx5165-69. The hex-shaped cutouts are designed to

work on correspondingly sized hex-shaped nuts. Appx5165.

         At trial, Sherman identified several prior art multi-purpose tool designs. The

Pocket Monkey (below, left), which was covered by U.S. Patent D707,091

(Appx5922; Appx4204-05; Appx6621-26), has several utilitarian features, such as

a box cutter and letter opener, but does not include hex-shaped cutouts along the

edge. Instead, the Pocket Monkey has an internal hole with nested cutouts. The

credit card-sized tool shown in U.S. Patent D603,230 (“the D’230 patent”)

(Appx4203; Appx6617-20) (below, right), includes hex-shaped cutouts along its

edges.




                POCKET MONKEY                          D’230 PATENT

         Shlaferman used the Pocket Monkey to develop the Wallet Ninja.4

Appx4438-39 (sending image of Pocket Monkey, “[Shlaferman] wanted a tool like


         4
        Initially, Shlaferman sought, but failed, to secure a deal to be an exclusive
distributor of the Pocket Monkey. Appx4398-99. Shlaferman and Dynamite’s
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this.”). Shlaferman worked with LaErik Cooper, a mechanical engineer who

operated a business working with inventors, to conceive the claimed design.

Appx3; Appx4401. Their collaborative activities and Cooper’s contributions are

documented in the contemporaneous correspondence in addition to trial testimony.

Appx4452-58; Appx5928-31. Among other contributions, Cooper introduced the

placement and arrangement in a mound shape of the hex-shaped cutouts along an

outer edge. Appx7.

      Before the trial, Shlaferman unilaterally contacted Cooper about joining as

a co-inventor of the D’877 patent and to seek an assignment of Cooper’s patent

rights to Dynamite. Appx4492-99; Appx4573-86; Appx5941-46 (Shlaferman e-

mailing Cooper correction of inventorship and assignment documents). Failing to

obtain this, Dynamite brought an action against Cooper and his company in the

Middle District of Florida for a declaratory judgment regarding inventorship and

ownership, which was transferred to the Eastern District of New York for

consolidation with the case below. Appx45-46; Appx1163. In connection with the

Florida litigation, Cooper contacted Sherman about the inventorship claims and

gave Sherman a nunc pro tunc assignment of his ownership rights as an inventor of




predecessor company were sued by the maker of the Pocket Monkey for patent
infringement regarding the Wallet Ninja. Appx5903-04.
                                        7
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the D’877 patent, for which Sherman compensated Cooper for his involvement in

the case. Appx4586-88; Appx5730-37.

II.   Sherman and the Accused Product

      Sherman sold a multi-purpose tool, which has been designated as the TOL4,

TOL8, or S11171 product. Appx5670; Appx5676-77. In July 2017, Sherman

introduced an original version, which was sold until May or June 2018.5

Appx5086; Appx2502. Upon receiving a cease-and-desist letter in March 2018

from Vante, Inc. asserting the D’877 patent, Sherman redesigned the product

(below) and started selling the new version to replace the original. Appx5037-45.




                                               •>•
                                              asymmetric




      The redesigned version of the TOL4 product has a series of hex-shaped

cutouts along its edge arranged in descending size order. It also has features, such

as screwdrivers, a box opener, and a can opener, which are shaped, spaced, and




      5
        Sherman is not disputing whether the original version infringes the D’877
patent. Nevertheless, in the patent assignment dated May 18, 2018, Dynamite did
not receive the right to sue for past infringement from the prior owner, Vante Inc.,
which is not a party to this case. Appx5664-66.
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arranged differently from the elements in the design of the D’877 patent.

Appx5041-42.

      Sherman sold its tool in the promotional market for $1 or less per unit, while

Dynamite’s Wallet Ninja was sold primarily in the distinct retail market for

approximately $4-$5 per unit and as high as $10 per unit. Appx4734; Appx4900-

01; Appx5227.




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                        SUMMARY OF THE ARGUMENT

      Sherman’s argument has six principal parts:

      1.       The district court’s determination that Cooper is not a co-inventor of

the D’877 patent should be overturned. The court’s submission of the inventorship

claim to the jury was erroneous because there is no jury trial right on this issue.

Nevertheless, the jury’s verdict on inventorship lacks substantial evidence and is

contrary to the testimony and corroborating evidence presented at trial, including

Shlaferman’s admission that Cooper is a co-inventor. The case should be

dismissed for lack of standing as a matter of law if Cooper is determined to be a

co-inventor.

      2.       The jury’s verdict on infringement should be set aside as contrary to

the evidence presented at trial and for lack of substantial evidence, including that

Dynamite’s expert’s testimony based on “gestalt principles” is insufficient.

      3.       The jury’s verdict on invalidity for functionality should be set aside as

contrary to the evidence presented and for lack of substantial evidence, including

lack of proof of alternative designs with the same or similar functional capabilities.

      4.       The jury’s verdict on invalidity for obviousness should be set aside as

contrary to the evidence presented and for lack of substantial evidence. Sherman

presented an unrebutted case for obviousness.




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      5.     The jury’s verdict on damages is erroneous and not supported by

substantial evidence and is based on inadmissible evidence, including that

Dynamite’s claim for lost profits fails to prove the absence of acceptable non-

infringing substitutes and demand for the patented product.

      6.     The court’s award of attorney’s fees and other fees and costs should

be set aside as erroneous and for abuse of discretion. This award based on alleged

litigation misconduct was unsupported and conflated the purposes of awarding

attorney’s fees under § 285 and enhanced damages under § 284.




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                                   ARGUMENT

I.    Statement of the Standard of Review and Legal
      Standards for Issues Raised on Appeal

      A.     Standard of Review

      In evaluating the jury’s verdict and JNOV motions, this Court determines

whether the evidence “constitutes ‘substantial evidence’ in support of the jury’s

findings and, if so, whether those findings can support the legal conclusions

necessarily drawn by the jury in accord with its instructions enroute to its verdict.”

Perkin-Elmer Corp. v. Computervision Corp., 732 F.2d 888, 893 (Fed. Cir. 1984).

      This Court follows the regional circuit on non-patent-specific standards

governing a motion for judgment as a matter of law and for a new trial as well as

governing its review of the district court’s denial of motions for same and the

jury’s verdict. See Raytheon Co. v. Indigo Sys. Corp., 895 F.3d 1333, 1338 (Fed.

Cir. 2018). Under Second Circuit law, the denial of a motion for judgment as a

matter of law is reviewed de novo, “applying the same standards that guided the

district court’s consideration of the issue.” Nimely v. City of New York, 414 F.3d

381, 389-90 (2d Cir. 2005). The Second Circuit will grant a motion for judgment

as a matter of law “only if ‘a reasonable jury would not have a legally sufficient

evidentiary basis to find for the [non-movant] on that issue.’” Cameron v. City of

New York, 598 F.3d 50, 59 (2d Cir. 2010) (citation omitted); Fed. R. Civ. P. 50(a).

Under Second Circuit law, denial of a new trial is reviewed for abuse of discretion,
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in particular where the court has “(1) ‘based its ruling on an erroneous view of the

law,’ (2) made ‘a clearly erroneous assessment of the evidence,’ or (3) ‘rendered a

decision that cannot be located within the range of permissible decisions.’”

Manganiello v. City of New York, 612 F.3d 149, 165 (2d Cir. 2010).

      B.     Legal Standards for Issues on Appeal

             1.    Inventorship and Standing

      35 U.S.C. § 256 “grants district courts the power to correct . . . the omission

of an inventor in an issued patent.” Fina Tech., Inc. v. Ewen, 265 F.3d 1325, 1327

(Fed. Cir. 2001). The Court applies the same standard of inventorship to design

patents as for utility patents. Blue Gentian, LLC v. Tristar Prods., Inc., 70 F.4th

1351, 1361 (Fed. Cir. 2023).

      A party seeking correction of inventorship must show by clear and

convincing evidence that a joint inventor should have been listed. Eli Lilly & Co.

v. Aradigm Corp., 376 F.3d 1352, 1358 (Fed. Cir. 2004); see Fina Oil & Chem.

Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997) (“[T]o be a joint inventor, an

individual must make a contribution to the conception of the claimed invention that

is not insignificant in quality, when that contribution is measured against the

dimension of the full invention.”); Kimberly-Clark Corp. v. The Procter & Gamble

Distrib. Co., Inc., 973 F.2d 911, 917 (Fed. Cir. 1992) (contributions must arise




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from “some element of joint behavior, such as collaboration or working under

common direction” with the other inventor).

      An alleged joint inventor “must supply evidence to corroborate his

testimony” Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1461 (Fed. Cir.

1998). “Corroborating evidence may take many forms,” including

“contemporaneous documents” or physical evidence, “[c]ircumstantial evidence,”

and “oral testimony of someone other than the alleged inventor.” Id. To determine

whether testimony has been sufficiently corroborated, a “rule of reason” test is

applied where “all pertinent evidence is examined in order to determine whether

the inventor’s story is credible.” Sandt Tech. Ltd. v. Resco Metal & Plastics Corp.,

264 F.3d 1344, 1350 (Fed. Cir. 2001).

      Inventorship is a question of law based on underlying facts. In re VerHoef,

888 F.3d 1362, 1365 (Fed. Cir. 2018). The Court reviews the district court’s

overall inventorship determination de novo and the court’s underlying factfinding

for clear error. Dana-Farber Cancer Inst., Inc. v. Ono Pharm. Co., Ltd., 964 F.3d

1365, 1370 (Fed. Cir. 2020).

      Whether a party has standing to sue is a question of law that the Court

reviews de novo. Israel Bio-Engineering Project v. Amgen, Inc., 475 F.3d 1256,

1262-63 (Fed. Cir. 2007) (citing Prima Tek II, L.L.C. v. A-Roo Co., 222 F.3d 1372,

1376 (Fed. Cir. 2000)). If the asserted patentee did not have standing to maintain


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an infringement action, then jurisdiction is not proper on appeal. Id. With respect

to standing, “[a]n action for infringement must join as plaintiffs all co-owners.”

Ethicon, 135 F.3d at 1467-68; Advanced Video Techs. LLC v. HTC Corp., 879 F.3d

1314, 1319 (Fed. Cir. 2018).

             2.    Non-Infringement

      To determine whether a design patent is infringed, one must consider, “[i]f,

in the eye of an ordinary observer, giving such attention as a purchaser usually

gives, two designs are substantially the same, if the resemblance is such as to

deceive such an observer, inducing him to purchase one supposing it to be the

other.” Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 670 (Fed. Cir. 2008).

An “ordinary observer” is presumed to take into account all of the claimed design

elements in assessing the similarities between the accused product and the patented

design, not merely the elements that an expert seeks to declare as material. See

Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370 (Fed. Cir. 2002).

“[A]ll of the ornamental features illustrated in the figures must be considered in

evaluating design patent infringement.” Id. at 1378.

             3.    Invalidity

      Patent invalidity must be shown by clear and convincing evidence. Abbvie

Inc. v. Mathilda & Terrence Kennedy Inst. of Rheumatology Trust, 764 F.3d 1366,

1372 (Fed. Cir. 2014).


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                    a.     Functionality

      For a design to be protectable by a design patent, “the design must not be

governed solely by function, i.e., that this is not the only possible form of the article

that could perform this function.” Rosco, Inc. v. Mirror Lite Co., 304 F.3d 1373,

1378 (Fed. Cir. 2002). A design patent is invalid if the design is “dictated by the

utilitarian purpose of the article” or is primarily functional rather than ornamental.

High Point Design LLC v. Buyer’s Direct, Inc., 730 F.3d 1301, 1315 (Fed. Cir. 2013);

L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993);

Richardson v. Stanley Works, Inc. 597 F.3d 1288, 1293-94 (Fed. Cir. 2010).

                    b.     Obviousness

      In the design patent context, obviousness is addressed by determining

whether a designer of ordinary skill would have combined teachings of the prior art

to create “the same overall visual appearance as the claimed design.” Durling v.

Spectrum Furniture Co., 101 F.3d 100, 103 (Fed. Cir. 1996). This inquiry

proceeds in two steps. First, before the trier of fact can combine prior art

references, it must determine whether there exists a “primary reference,” i.e., a

single reference that creates “basically the same visual impression” as the claimed

design. Id. Second, if a primary reference exists, the trier of fact must determine

whether, using secondary references, an ordinary designer would have modified




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the primary reference to create a design that has the same overall visual appearance

as the claimed design. Id.

             4.    Damages

      A patentee is entitled to recover “damages adequate to compensate for the

infringement.” 35 U.S.C. § 284; see 35 U.S.C. § 289 (additional remedy for

infringement of design patent). A determination of lost profits damages is based

on the four-factor Panduit test, which requires the patent owner to prove: “(1)

demand for the patented product; (2) absence of acceptable noninfringing

substitutes, (3) his manufacturing and marketing capability to exploit the demand,

and (4) the amount of the profit he would have made.” Panduit Corp. v. Stahlin

Bros. Fibre Works, 575 F.2d 1152, 1156 (6th Cir. 1978); see Rosco, Inc. v. Mirror

Lite Co., 626 F. Supp. 2d 319, 330 (E.D.N.Y. 2009).

      A damages award tried to a jury “must be upheld unless the amount is

grossly excessive or monstrous, clearly not supported by the evidence, or based

only on speculation or guesswork.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d

1301, 1310 (Fed. Cir. 2009). When a trial court finds a damage verdict to be

excessive, it may order a new trial on all issues or only on damages. Tingley Sys.,

Inc. v. Norse Sys., Inc., 49 F.3d 93, 96 (2d Cir. 1995). Alternatively, the court may

grant remittitur to reduce an excessive verdict. Id.; Siemens Med. Sols. USA, Inc.

v. Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1290 (Fed. Cir. 2011)


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(“[T]he district court did not abuse its discretion by reducing the jury’s damages

award to account for the lack of substantial evidence supporting lost profits

damages” claimed in the case.).

             5.     Attorney’s Fees and Costs

      A court may award reasonable attorney’s fees in exceptional cases. 35

U.S.C. § 285. “[A]n ‘exceptional’ case is one that stands out from other with

respect to the substantive strength of a party’s litigating position (considering both

the governing law and the facts of the case) or the unreasonable manner in which

the case was litigated. Spineology, Inc. v. Wright Med. Tech., Inc., 910 F.3d 1227,

1229 (Fed. Cir. 2018). A finding of willful infringement does not mandate an

award of attorney’s fees, and an attorney’s fees award is appropriate only in

limited circumstances. McNeil-PPC, Inc. v. L. Perrigo Co., 337 F.3d 1362, 1372

(Fed. Cir. 2003). Attorney’s fees awards are reviewed for abuse of discretion.

Spineology, 910 F.3d at 1229.

II.   The District Court’s Determination That Cooper Is
      Not a Co-Inventor Should Be Overturned

      A.     The District Court’s Submission of the
             Inventorship Claim to the Jury Was Erroneous
             For Lack of Jury Trial Right

      The district court submitted the inventorship claim to the jury along with

issues relating to ownership of the D’877 patent in the first phase of the bifurcated


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trial. Appx5; see Appx3486-87; Appx3533-34. The court erred by submitting to

the jury the inventorship claim, which is a matter of law for the court to decide.

      The parties had brought a joint motion to bifurcate the trial and conduct a

bench trial on the inventorship claim along with ownership issues, but the court

denied the motion. Appx2586-87; Appx54-55. The court did not submit

inventorship to an advisory jury under Fed. R. Civ. P. 39(c)(1), nor did the court

have the consent of any party to try the inventorship claim to the jury pursuant to

Fed. R. Civ. P. 39(c)(2). This matter was raised by the parties’ joint motion, the

court’s order denying same, and subsequent proceedings.6 See Fed. R. Civ. P. 46;

Appx4688-89 (post-verdict JNOV request based on assertion that “issue of



      6
         The parties not only filed the joint motion to bifurcate and for a bench trial,
but also previously raised the issue to the court in two proposed pretrial orders, a
pre-trial conference, and a motion in limine. Appx2532-33 (proposed pretrial order
with Dynamite’s statement, “No party demanded a jury on the issues of
inventorship and ownership of the ‘877 Patent,” and request for court to hear these
issues); Appx2554-55 (amended proposed pretrial order with joint request for
bench trial on issues relating to inventorship and ownership); Appx1557
(explaining that “[i]nventorship is a question of law”); Appx5622 (both parties
requesting bench trial on these issues); see also Appx50 (5/4/23 Text Order
initially granting parties’ request to schedule bench trial on inventorship and
ownership issues). The refusal to conduct a separate bench trial was based solely
on the court’s convenience and schedule, with no regard for § 256 or the Seventh
Amendment. Appx5637 (“[I]f I’m just shaving two days off the trial, I guess I
would rather just give it all to the jury.”); Appx5638-39 (“So I guess we’re just
going to stick with the September 11th date for a jury trial. I’m going to eliminate
doing a separate trial. . . . If something gets backed up, this is the case that will get
cut.”).

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inventorship is a matter of law”); Appx3535-46 (JMOL motion on inventorship

asserting same); Appx2676 (parties agreeing to reserve rights). At trial, the court

also recognized Sherman’s objection and lack of consent to submitting

inventorship to the jury. Appx4650-51 (regarding jury charge on inventorship,

court stated to defense counsel, “I know you don’t want that charge at all, but it’s

there.”).

       The court’s submission of inventorship to the jury was contrary to § 256 and

controlling precedent. While Dynamite had a right to a jury trial with respect to

legal issues (e.g., infringement, invalidity, and damages), the court contravened the

prescription of § 256 that inventorship be heard and decided by the judge.

       As this Court explained in the seminal case, Shum v. Intel Corp., 499 F.3d

1272 (Fed. Cir. 2007), no right to a jury trial attaches to an inventorship claim. Id.

at 1277 (“[A]n action for correction of inventorship under § 256, standing alone, is

an equitable claim to which no right to a jury trial attaches.”). This general rule

has a corollary that a § 256 inventorship claim co-pending with another legal

claim, for which “commonality exists between the factual issues,” should be tried

to a jury to determine the facts regarding inventorship as well as the other legal

claim. Id. at 1279 (“We thus conclude that commonality exists between the factual

issues underlying the inventorship and fraud claims. While Shum would not be

entitled to a jury trial on the § 256 inventorship claim standing alone, given the co-


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pendency of the asserted fraud claim, a jury should determine the facts regarding

inventorship.”); see id. at 1277 (citing Dairy Queen, Inc. v. Wood, 369 U.S. 469,

479 (1962)).

      Although the present case is factually distinct from Shum because it does not

involve inventorship and fraud or another claim bearing common factual issues, its

reasoning controls. Here, there is no claim with underlying factual issues common

to the inventorship claim. The only other claim brought to trial involved

infringement. As this Court made clear in Shum, an infringement claim does not

share common factual issues with an inventorship claim. The Court explained:

      While a § 256 cause of action was the equitable claim at issue in
      Ethicon [135 F.3d 1456], this legal claim involved infringement.
      Unlike a claim for fraud that is premised on an allegation that the
      named inventor misrepresented that he was the sole inventor, a claim
      for infringement does not share common factual issues with a claim
      for inventorship. A claim for infringement requires factual
      determinations regarding whether an accused product falls within the
      scope of a claim. In contrast, as discussed above, an inventorship
      claim concerns the identity of the person(s) who conceived the
      invention.

Shum, 499 F.3d at 1278 (emphasis added). In addition, the issue of ownership is

subsumed within an infringement claim because ownership is a jurisdictional

requirement for an infringement claim, and lack of ownership is a defense to an

infringement claim. 35 U.S.C. § 287; Drone Techs., Inc. v. Parrot S.A., 838 F.3d

1283, 1293 (Fed. Cir. 2016) (citing Pandrol USA, LP v. Airboss Ry. Prods., Inc.,

320 F.3d 1354, 1367 (Fed. Cir. 2003)).
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      In this case, given that there is no separate legal claim for which

commonality of factual issues exists, the equitable inventorship claim should have

been heard and decided solely by the judge in accordance with § 256 and this

Court’s precedents, and the submission of inventorship to the jury constitutes

reversible error. By failing to provide findings of facts and conclusions of law on

the inventorship claim, the judge prevented meaningful appellate review.

      This error requires reversal of the court’s Judgment. Because there was

never a legally sufficient determination that Cooper was not a co-inventor, the

issue of ownership of the D’877 patent is unresolved. Appx3487. Absent the

determination that Dynamite owned the D’877 patent, the jury’s subsequent

findings on infringement, validity, and damages should be overturned.

      If the Court were to remand the case, the district court would need to hear

and decide the inventorship claim without a jury and then submit the case to the

jury on infringement, including issues of ownership, standing, and estoppel.

Nevertheless, a remand would be unnecessary because the jury’s verdict on one or

more of the case-dispositive issues of infringement, validity, and damages should

be set aside, as set forth below.




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      B.     The Jury’s Verdict on Inventorship Should Be Set
             Aside for Lack of Substantial Evidence

      If the Court were to proceed further, the Court should also reverse the jury’s

verdict and the denial of the JMOL motion on inventorship because there was a

lack of substantial evidence.

      The evidence adduced at trial does not in any way support a finding, and no

reasonable jury could have found, that Cooper was not a co-inventor of the design

of the D’877 patent. All of the corroborative evidence introduced at trial compels

a conclusion that Cooper is a joint inventor. Cooper made significant contributions

to the conception of the claimed invention, collaborated with and communicated

his contributions to Shlaferman at the time of the invention, and offered far more

than the current state of the art. Cooper’s inventive contributions include, inter

alia, the placement, arrangement, and relative sizes of the hex-shaped cutouts

along one edge of the claimed design. Appx4453-56; Appx4463-64; Appx4454-56;

Appx4463-64.

      The court points to an illustration offered to show both Shlaferman’s and

Cooper’s contributions to the claimed design, i.e., the solid line portions of the

D’877 patent (Appx6-7), all of which are reproduced below.




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   Sb.@~ s Drawing:            Cooper's Design :


           "
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The court fails to mention that “Shlaferman’s Drawing” and “Cooper’s Design” as

depicted above are the only corroborating evidence introduced at trial relating to

whether Cooper made a contribution to the invention of the D’877 patent including

“the placement and design of the hex-shaped design elements” (Appx7).7 The

drawings show that Shlaferman’s original concept sketch did not include hex-

shaped cutouts along an outer edge, but rather an internal hole like that of the

Pocket Monkey, while Cooper’s subsequent drawing communicated to Shlaferman

shows a series of hex-shaped cutouts along one edge in a mound shape, as claimed

in the patent.

      According to the court, Cooper and Shlaferman collaborated in developing

the claimed design of the D’877 patent through “their iterative exchanges”


      7
        The court’s assertion that “the hex cutouts encompass the only example of
an element contributed by Cooper” (Appx7 (emphasis in original)) is erroneous.
Cooper contributed not only the hex-shaped cutouts, but also at least the inclusion
and placement of the concave cutout and associated point on the left side of both
“Cooper’s Design” and the D’877 patent design, serving as a box cutter. Appx4453
(Cooper confirming his decision to include and place concave cutout); Appx5930;
Appx5934; Appx5936-40 (initial “Cooper’s Design” including this design feature,
which remained in the patent and Wallet Ninja product).
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(Appx7). The parties’ correspondence shows that Shlaferman sought Cooper’s

assistance in designing the claimed invention and expressed surprise and delight

with Cooper’s contributions, which produced a significantly different ornamental

appearance. Appx4356-57 (confirming that Shlaferman “ask[ed] to hear Mr.

Cooper’s ideas”); Appx5928 (Shlaferman: “Excited to see what you make.”);

Appx5930 (“Cooper’s Design”); Appx5931 (Shlaferman: “Wow, this is some bad

a** sh*t!!” Cooper: “Thanks!!!! I’m glad you like it. I decided to go another

route and was unsure if you would like it.”).

      In light of the correspondence, the court’s assertion that “the inclusion of the

hex wrenches was Shlaferman’s idea during their interactive exchanges” (Appx7;

emphasis added) is incomplete, and Shlaferman’s trial testimony cited by the court

(Appx4414-15; Appx4444) shows the same.8 The court recognized that Cooper

made an ornamental contribution to the claimed design and conceded that Cooper

contributed “the placement and size of the hex-shaped design elements.” Appx7;

Appx4485 (regarding “whether or not Mr. Cooper contributed a sufficient quantum

to be an inventor,” court stated, “I don’t know what instruction you can come up

with where the answer is not yes, he was”).


      8
        Without referring to any evidence of record, the court attempted to justify
its conclusion by minimizing the significance of Cooper’s contributions, which
speak for themselves. Appx7 (characterizing counsel’s argument as “Cooper can
only be credited” with this contribution); Appx8 (referring to Cooper’s “largely
ornamental change to a single aspect to the device”).
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      The court also erred by conflating the substantiality of Cooper’s contribution

to the ornamental design with the commercial value of the invention based on its

functional features, stating (Appx8):

      Cooper’s insistence that his largely ornamental change to a single
      aspect of this device can constitute a substantial contribution
      fundamentally misapprehends the nature of the item at issue in this
      case. The Wallet Ninja’s packaging wraps the device in breathless
      superlatives hawking the fact that it encompasses “18 Tools in 1” and
      “fits in your wallet.” Pl. Ex. 202 [Appx5918]. Thus, the invention’s
      myriad functions drive its value, not the niceties of the appearance—
      or arguably even the utility—of a particular feature.

The commercial value of an invention does not dictate whether a contribution to

the ornamental design is significant, but rather the significance of the contribution

is measured against the entire design. Fina Oil, 123 F.3d at 1473 (Fed. Cir. 1997).

The court improperly discounted “the niceties of the appearance,” i.e., the

ornamentality, of the claimed design based on its perceived value of the invention

instead of looking at the features of the overall ornamental design.

      Contrary to the court’s conclusion, Cooper’s independent contribution to the

design was significant. Appx4453-57 (Cooper describing features he contributed).

Referring to “Cooper’s Design” pictured above, Cooper explained that “he

reordered the hex cutouts such that he ‘made it look like a mound,’ with the largest

one in the center and the others in laterally descending size order.” Appx8;

Appx4455. The placement and size of the hex-shaped design elements are

ornamentally important, as they form a large portion of the clamed invention as
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represented by the solid lines of the D’877 patent figures. See pg. 23-27 supra

(protected design limited to a few perimeter cutouts). Cooper’s contribution to the

claimed invention satisfies and exceeds the quality and quantum of inventive

contribution necessary to qualify as a joint inventor. Fina Oil, 123 F.3d at 1473

(“The case law thus indicates that to be a joint inventor, an individual must make a

contribution to the conception of the claimed invention that is not insignificant in

quality, when the contribution is measured against the dimension of the full

invention.”). Further, no evidence introduced at trial indicates that Cooper’s

contribution did not offer more than the known state of the art. For example, the

Pocket Monkey allegedly used as a starting point for the D’877 patent did not

include the hex-shaped cutouts along the edge, as contributed by Cooper.

Appx4401; Appx4438-39 (referencing Appx5922).

      The circumstantial corroborating evidence supports Cooper’s inventorship

claim. Without solicitation from Cooper, Shlaferman himself sought to correct the

inventorship of the D’877 patent to add Cooper as a joint inventor. Appx4573-74;

Appx5941-46 (Shlaferman “agree[d] to change the inventorship of the ‘877 Patent

to add Eric [sic] Cooper as a co-inventor.”). Shlaferman conceded that he sent a

declaration to correct inventorship and assignment papers to Cooper and that he

sought to add Cooper as an inventor, which establishes that Shlaferman was fully

aware and admits that Cooper is a co-inventor.


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      The hex-shaped cutouts arranged as a mound along one edge of the design of

the D’877 patent constitutes one of the few and most significant elements of the

claimed design. There is no evidence that this contribution emanated from any

source other than Cooper. Thus, the trial record and corroborating evidence

establish that Cooper made a substantial contribution to the claimed design. The

jury’s verdict and the court’s denial of the JMOL motion on inventorship should be

reversed, with the court addressing the remaining issues in the case, as set forth

above on page 22.

      Should this Court conclude, however, that Cooper is a co-inventor, the Court

should reverse the denial of Sherman’s JMOL motion and rule that Dynamite’s

lacked standing to have brought the action in the first place, resulting in dismissal

of the case. Dynamite acknowledges that it does not own the necessary rights

flowing from Cooper’s co-inventorship and admits that Sherman is the owner of

such rights through an assignment from Cooper. Appx994 (Dynamite’s admission

it had no executed written assignment from Cooper); Appx5941-46 (Shlaferman

requesting Cooper as co-inventor provide his assignment to Dynamite); Appx3380

(“But Cooper assigned away any rights he may have to Sherman.”); Appx5730-37

(Cooper-Sherman Agreement and Assignment). Accordingly, Dynamite lacked

both prudential standing and constitutional standing under U.S. Const. art. III, § 2.

Regarding prudential standing, Dynamite failed to “join as plaintiffs all co-owners”


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of the D’877 patent. Ethicon, 135 F.3d at 1467-68; see Adv. Video Techs., 879 F.

3d at 1319 (“[Plaintiff] does not have full ownership of the [subject] patent. [Co-

inventor/co-owner] is neither a party to the suits, nor has she consented to these

suits. [Plaintiff], therefore, has no standing to maintain its suit.”); Israel Bio-

Engineering, 475 F.3d at 1264-65 (“Absent the voluntary joinder of all co-owners

of a patent, a co-owner acting alone will lack standing.”). Cooper, as co-inventor,

was never joined to the action as a co-plaintiff,9 and with his assignment to

Sherman, neither he nor Sherman could be so joined and the standing defect cannot

be cured.10 With respect to constitutional standing, Dynamite did not and cannot

suffer a legally cognizable injury necessary for standing where Sherman is not an

“unauthorized party” but rather a co-owner having equal exclusionary rights to

Dynamite. WiAV Solutions LLC v. Motorola, Inc., 631 F.3d 1257, 1264-67 (Fed.

Cir. 2010); Induction Innovations, Inc. v. Pacholok, No. 13-5102, 2014 U.S. Dist.




      9
         Separately, Dynamite’s efforts in April 2021 to obtain Cooper’s
assignment could not retroactively confer standing as to the May 22, 2019 filing
date of the action. Alps South, LLC v. Ohio Willow Wood Co., 787 F.3d 1379 (Fed.
Cir. 2015) (dismissal required due to defect in standing, existing at case initiation,
for failure to name necessary co-plaintiff and despite executed nunc pro tunc
agreement between the parties).
      10
       It would be unnecessary to remand to determine whether Cooper or
Sherman could be joined as a plaintiff. Cf. Lone Star Silicon Innovations LLC v.
Nanya Tech. Corp., 925 F.3d 1225 (Fed. Cir. 2019).

                                           29
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LEXIS 137580, at *10-*11 (N.D. Ill. Sept. 30, 2014) (co-inventor/co-owner not an

“unauthorized party”) (emphasis in original).

III.   The Jury’s Verdict on Infringement Is Not
       Supported By Substantial Evidence

       There is no substantial evidence introduced at trial to support the jury’s

verdict of infringement. In addition to the claimed and accused designs being

plainly dissimilar, the only probative evidence is on non-infringement and was

introduced by Sherman.11 See Egyptian Goddess, 543 F.3d at 678 (“In some

instances, the claimed design and the accused design will be sufficiently distinct

that it will be clear without more that the patentee has not met its burden of

proving the two designs would appear ‘substantially the same” to the ordinary

observer . . . .”).

       Sherman’s expert, Dr. Formosa, testified that he compared the claimed

design of the D’877 patent with Sherman’s accused redesigned TOL4 product,12



       11
        Sherman’s non-infringement arguments are directed to the accused
product as redesigned.
       12
         The court points to testimony of Dr. Formosa to allege that Sherman’s
expert could not tell the two products apart. Appx4. The cited testimony is not
clear that Dr. Formosa was referring to the original and redesigned versions of the
TOL4, but instead mentioned “two different versions of the TOL4.” Appx5202-
03. Dr. Formosa did not testify that the redesigned version of the accused device
was a direct knockoff or clone of the Wallet Ninja. Such a conclusion would be
contrary to Dr. Formosa’s extensive testimony about the differences between the
patented and accused designs as set forth herein.
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concluding that there are visible differences such that one would not confuse them.

Appx5189-93. Dynamite’s cross-examination of Dr. Formosa did not diminish his

testimony regarding non-infringement. Appx5194-95; Appx5199-201.

      Moreover, at trial, Sherman also sought to introduce testimony from its

Director of Merchandising, Mr. Davila, as an expert, inter alia, on the identity and

characteristics of the ordinary observer. The court improperly excluded Davila’s

testimony on infringement because he was also a fact witness, which ruling formed

the basis for Sherman’s additional motion for a new trial on infringement.

Appx3961-64. United States v. Feliciano, 223 F.3d 102, 121 (2d Cir. 2000)

(“[D]ual testimony [as both expert and fact witness] is not objectionable in

principle.”). The exclusion of Davila’s testimony further precluded Dr. Formosa’s

testimony addressing the ordinary observer’s characteristics of carefulness,

deliberateness, and experience purchasing promotional products in concluding why

the ordinary observer would not be deceived or confused. Id. This provides

another reason for the Court to overturn the Judgment and order a new trial, as the

failure to elicit this testimony on a fundamental issue of non-infringement caused

the jury to reach an erroneous result.

      In contrast, the evidence proffered by Dynamite on infringement is the

testimony of its expert, Professor Rake, who applied a so-called “gestalt principle”




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in comparing the design of the D’877 patent and the accused product.13

Appx4849-54. Professor Rake conducted his infringement evaluation on the basis

of the “impression” formed by an observer about the design, allowing him to

ignore features of the claimed design. Appx4837-39; Appx4844 (Gestalt is “based

on a psychological principle that we perceive whole objects rather than isolated

bits . . . .”). Because he failed to follow the governing legal principles and

overlooked claimed design features, Professor Rake’s testimony cannot constitute

substantial evidence to support the jury’s verdict.

      It has been found that proffered expert testimony directed to determining

substantial similarity from the perspective of an ordinary observer based on gestalt

principles is insufficient. OraLabs, Inc. v. Kind Grp. LLC, No. 13-00170, 2015

U.S. Dist. LEXIS 103864 (D. Colo. Aug. 7, 2015). The court in OraLabs

addressed proposed expert testimony closely analogous to Professor Rake’s

testimony that a product design’s overall “gestalt” consists of a subset of its

different design features and that, although there are differences between the

designs of the D’877 patent and the accused product, the differences would be

perceived as irrelevant. Appx4870-72. The OraLabs court explained (2015 U.S.

Dist. LEXIS 103864, at *9-*11) (internal citations omitted):



      13
        At trial, Sherman properly objected to Professor Rake’s proffered
testimony with respect to the identity of the ordinary observer. Appx4823-26.
                                          32
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      OraLabs argues that Mr. Kapec’s opinion applying gestalt principles
      to the Lip Revo and the ‘939 Patent should be excluded because his
      report includes no facts or data that support the conclusion that the
      gestalt effect would cause ordinary customers to “complete” the shape
      of the Lip Revo product. The Court agrees. Mr. Kapec opines that
      gestalt principles lead to the conclusion that, when a consumer is
      presented the Lip Revo, the ordinary observer will complete the
      hemisphere by rounding off the Lip Revo’s flat product mound, thus
      creating an appearance substantially similar to the product mound of
      the ‘939 Patent. In this regard, Mr. Kapec’s testimony is not a
      statement of his views on the dominant features of the patented and
      accused designs, but rather an empirical conclusion presented as
      scientific fact. See id. (“Applying the principles of Gestalt . . . when
      a consumer is presented with the OraLabs Lip Revo lip balm . . . the
      mind’s eye will ‘complete’ the shape of the hemisphere”). Mr.
      Kapec’s conclusion lacks explanation or factual support. This is
      insufficient. There is no articulated reason why an ordinary observer
      would round off the Lip Revo’s flattened product mound as opposed
      to, for instance, squaring it off like the cylindrical top of a stick lip
      balm product mound.

See also Yeti Coolers, LLC v. RTIC Coolers, LLC, No. 15-597, 2017 U.S. Dist.

LEXIS 11956, at *7 n.2 (W.D. Tex. Jan. 29, 2017) (referring to expert in OraLabs

as applying a “defunct legal standard”). The application of “gestalt theory” has

recently been criticized:

     Thurman’s principal criticism of the surveys conducted by Lutron’s
     experts appears to be that they lack expertise in “shape
     perception science,” or modern Gestalt theory. As far as I can tell,
     modern Gestalt theory as a way to evaluate consumer perception
     has passed Daubert muster in just one case in any federal court. Delta
     T, LLC v. Dan's Fan City, Inc., 2021 U.S. Dist. LEXIS 24422,
     2021 WL 458022 (M.D. Fla. Feb. 9, 2021). This court found a
     second such case in which the theory was employed by a proposed
     expert, but the court granted a Daubert motion and excluded the
     testimony for lack of reliability. See Oralabs [above]. This track
     record does not inspire confidence in Dr. Thurman's criticism.
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Geigtech E. Bay LLC v. Lutron Elecs. Co., No. 18-5290, 2023 U.S. Dist. LEXIS

184989, at *33-*34 (S.D.N.Y. Sep. 20, 2023) (internal citations omitted).

      In the present case, Professor Rake applied gestalt principles to blur the

otherwise significant ornamental differences in the arrangements of the hex-shaped

cutouts between the claimed and accused designs to reach the unsupportable

conclusion that the designs are substantially similar. Appx4871 (“For instance in

this one, there’s a row of little house shapes along an edge. An eye would group

those as a thing. So instead of seeing a number of pieces, the eye is going to see in

that part, they’re going to see one thing. So it’s kind of a subset of the multiple.”).

Significantly, Professor Rake provided no reason why an ordinary observer would

view the “mound” arrangement of the hex-shaped cut-outs claimed in the D’877

patent to be the same as the arrangement decreasing in size from left to right in the

accused product.

      Professor Rake’s “evidence” of infringement is skewed when examined

under the substantial similarity standard set out in Egyptian Goddess. 543 F.3d at

670; see id. at 676 (“[W]hen the claimed design is close to the prior art designs,

small differences between the accused design and the claimed design are likely to

be important to the eye of the hypothetical ordinary observer.”). For these reasons,

Dynamite’s only proffered testimony on infringement does not constitute sufficient

evidence to support the jury’s verdict.


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      The court also misconstrued the evidence of non-infringement introduced by

Sherman and improperly compared the patented and accused designs in denying

Sherman’s JMOL motion. Based on a comparative illustration of the claimed and

accused designs (Appx14), the court characterized Sherman’s expert’s opinion

distinguishing them as “unsupportable,” with no reasoning. The court admitted,

however, that its own view as to any alleged similarity of the patented and accused

designs is not relevant. Id. (“Even if one were to observe that, consistent with the

maxim of res ipsa loquitor, the objects pictured above are exceedingly (and

confusing) similar, that is not the question.”).

      Nevertheless, given that Sherman introduced proper evidence of non-

infringement, confirmed by visual differences between the patented and accused

designs, while Dynamite provided no competent evidence of infringement, this

Court should overturn the jury’s verdict and the court’s denial of Sherman’s JMOL

motion for lack of substantial evidence and denial of Sherman’s motion for a new

trial. Upon reversing the Judgment with respect to infringement, the permanent

injunction entered by the court should also be set aside.

IV.   The Jury’s Verdict of No Functionality Is Not
      Supported By Substantial Evidence

      This Court should reverse the jury’s verdict and the trial court’s denial of

Sherman’s JNOV motion of invalidity for functionality and the court’s denial of

Sherman’s motion for a new trial because the jury’s verdict on this issue was not
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supported by substantial evidence. In light of the evidence presented, no

reasonable jury could have found that the claimed design of the D’877 patent was

not primarily functional. Dynamite provided no evidence of alternative designs

that provide the same or similar functional capabilities as the claimed design, nor

did it introduce any evidence as to non-functionality.

      The instruction to the jury on the issue of invalidity for functionality focused

on whether alternative designs existed (Appx5289):

      It is normal and expected therefore that claimed designs perform some
      sort of function, and that does not disqualify the design for design
      patent protection. The question is whether those general functional
      characteristics can only be embodied in the claimed design or whether
      they can be embodied by other design[s], such that the claimed design
      is not the only way to perform those general functions. Thus, the
      existence of alternate designs that perform substantially the same
      function may be strong evidence that the design at issue is not dictated
      solely by its function.

This instruction is consistent with the Court’s precedent on evaluating

functionality. In particular, the “availability of alternative designs [is] an

important—if not dispositive—factor in evaluating the legal functionality of a

claimed design.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312

1329-30 (Fed. Cir. 2015) (claimed design functional where “the patentee presented

no evidence of alternative compatible key blade designs”).

      Sherman’s expert, Dr. Formosa, provided testimony on functionality with

respect to the claimed design. The witness examined the hex-shaped cutouts,


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which are designed to work with hex-shaped nuts, on the edge of the claimed

article. Appx5165. To show the functional nature of the hex-shaped cutouts, Dr.

Formosa explained that these features of the design of the D’877 patent are open

on one side, which is significant because this arrangement would allow the user to

approach a hex-shaped nut from the side, in contrast to a tool having an internal

hole such that the tool would have to be dropped on top of the hex-shaped nut.

Appx5166. Dr. Formosa also pointed to other functional features of the claimed

design, including the box cutter, letter opener, and screwdriver. Appx5166-69

(concluding that “[t]hey are all very standard utilitarian shapes” and “typical”). In

light of this testimony, none of the designs or products referenced by Dr. Formosa

at the trial are alternative designs that provide “the same or similar functional

capabilities” as the claimed design, as would be required to avoid a finding of

functionality. Ethicon Endo-Surgery, 796 F.3d at 1331 (quoting Rosco, 304 F.3d

at 1378).

      An alternative design to that claimed in the D’877 patent would need to

include hex-shaped cutouts on one edge for application to hex-shaped nuts as well

as additional multi-purpose tool features such as a box cutter and letter opener.

The design of the D’230 patent has hex-shaped openings on one side but does not

have any of the other features of the claimed multi-purpose tool, such as the box

cutter and letter opener. Pg. 6 supra. In contrast, other referenced multi-tool


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products, including the Pocket Monkey, have features such as the box cutter and

letter opener but have an internal hole that functions as a hex-wrench in a different

functional manner than the hex-shaped openings of the claimed design. Id.

Sherman’s witnesses did not provide any evidence of an alternative design to that

of the D’877 patent that would avoid a finding that the claimed design is primarily

functional.

      Dynamite failed to provide any evidence of alternative designs that provide

the same or similar functional capabilities as the claimed design, or regarding the

non-functionality of the claimed design. In fact, Dynamite’s witnesses consistently

argued against the existence of alternative designs by asserting that there were no

acceptable non-infringing alternatives for purposes of its damages case.

Appx4939-41; Appx4980-83; Section VI.A infra.

      Upon being provided with alternative designs with the same or similar

functional capabilities as the design of the D’877 patent, Dr. Formosa concluded

that the claimed design was primarily functional. Appx5174 (“Q. Dr. Formosa,

looking at the design image that is on the screen there, is it your opinion that this

design is primarily functional? A. Yes. . . . There is nothing that I see in this patent

that looks beyond its functional purpose. So as a whole, or element by element,

everything I’m looking at is purely based on its functional needs.”); Appx5170

(“Well, it helps also to look at the unit as a whole and how distinctive that is once


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you put all the shapes together. And the impression that I get from this, again, is

that in its entirety it’s a utilitarian object.”); see pg. 23-24 supra (protected design

consisting of several perimeter cutouts serving as tools). Dynamite did not rebut

Dr. Formosa’s testimony on cross-examination and provided no contrary evidence

as to non-functionality of its asserted design. Appx5195-98 (Formosa cross-

examination). Since the claimed design of the D’877 patent is dictated by its use,

namely the tools shown on its surface, it cannot be the subject of a design patent.

L.A. Gear, 988 F.2d at 1123. Without substantial evidence to support the jury’s

verdict, the Court should overturn the jury’s verdict and the court’s denial of

Sherman’s JNOV motion and motion for a new trial on the issue of functionality

because the evidence shows that the D‘877 patent is invalid as primarily

functional. Richardson, 597 F.3d at 1293-94 (patent for a design that is primarily

functional rather than ornamental is invalid).

V.    The Jury’s Verdict of No Obviousness Is Not
      Supported By Substantial Evidence

      At trial, Sherman presented testimony and evidence of obviousness of the

claimed design of the D’877 patent. Dynamite offered no evidence of non-

obviousness and did not in any way rebut or diminish Sherman’s obviousness

evidence. The court’s denial of Sherman’s JMOL motions for obviousness and for

a new trial should be reversed because the jury’s verdict on this issue is not



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supported by substantial evidence. In light of the evidence presented, no

reasonable jury could have found that the claimed design was not obvious.

      In performing his obviousness analysis, Sherman’s expert, Dr. Formosa,

testified that the D’230 patent is a primary reference within the scope of the

Durling test such that the design characteristics of the claimed and prior designs

are basically the same. Appx5184-85 (“It’s a little tricky because probably what I

would call primary is the one at the top left because those hex shapes are so

visually prominent.” “Well, on the top left is a row of hex shapes very similar to

what’s along the bottom of the ‘877 patent.”). Dr. Formosa also discussed the

ordinary designer and explained how, using secondary references, the designer

would have modified the D’230 patent to create a design that has the same overall

visual appearance as the claimed design, the protected scope of which is shown on

pg. 24 supra. Appx5182-84 (describing “person of ordinary skill in the art” and

concluding, “So there are four sides to this perimeter. What the designer or design

team would do is say we can put this here.”). Using the demonstrative below

(Appx3709), Dr. Formosa showed the designs of the D’230 patent, along with the

other cited prior art including the Pocket Monkey patent, compared with the

claimed design. Appx5185-87; Appx6612-16 (CN203409706). This evidence is

directed to showing that an ordinary designer would have used the cited prior art

references to modify the D’230 patent to create a design that has the same overall


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visual appearance as that of the D’877 patent. Campbell Soup Co. v. Gamon Plus,

Inc., 939 F.3d 1335, 1340 (Fed. Cir. 2019).




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             In response to the testimony proffered by Sherman, Dynamite did not cross-

examine Dr. Formosa on any point relevant to the obviousness analysis for design

patents, including the disclosures of the cited prior art. Appx5195. Dynamite’s

expert, Mr. Rake, did not offer any relevant or specific testimony directed to prior

art references or the similarities/differences of the design features of the prior art

compared to the claimed design. Appx4846 (“[I]f you look at just what that

silhouette is of each of these prior art examples and compare it to the ‘877, you can

see the ‘877 Patent just has a very different silhouette than what the prior art

has.”); Appx4865-66 (comparing an unspecified “thing that existed before” to the



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actual design of the patent to assert that “[t]hey’re similar kind of rectangular

forms” and the “silhouettes look like, they’re not similar.”).

      The only evidence introduced by Dynamite was directed to differences

between the claimed and prior art designs based on their “silhouettes,” which is

insufficient to establish that the D’877 patent design is not obvious. Dynamite

presented neither a rebuttal to Sherman’s obviousness case nor substantial

evidence to support the jury’s verdict. For these reasons, the jury’s verdict should

be set aside for lack of substantial evidence.

      Moreover, the same testimony provided by Dr. Formosa supports a finding

of obviousness under the test articulated in KSR Int’l Co. v. Teleflex Inc., 550 U.S.

398, 416 (2007), that the “combination of familiar elements according to known

methods is likely to be obvious when it does no more than yield predictable

results.” To the extent the Durling standard is modified to a test corresponding or

akin to KSR in connection with the Court’s en banc consideration of LKQ Corp. v.

GM Glob. Tech. Ops. LLC, No. 21-2348 (Fed. Cir. June 30, 2023) (granting en

banc rehearing, in part, on whether KSR overrules or abrogates Durling), the case

should be remanded for consideration of obviousness in light of such a new

standard.




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VI.   The Jury’s Verdict on Damages Is Not Supported By Substantial
      Evidence and Is Based on Inadmissible Evidence

      After the trial, Sherman filed a JNOV motion on the issue of damages for

lack of substantial evidence and further requested remittitur or a new trial.

Appx3622-34; see Appx4978-79 & Appx5230-31; Tingley, 49 F.3d at 96

(confirming that a court may grant remittitur to reduce an “excessive” verdict).

The jury’s verdict should be set aside because no reasonable jury could have

awarded damages for patent infringement as were granted in this case. As set out

below, Dynamite’s quantification of lost profits damages is speculative.

Appx5214-19 (Sherman’s damages expert, Mr. Eisgruber).

      Dynamite sought damages only in the form of its lost profits, electing to

forego presenting a case for damages in the form of reasonable royalty or

Sherman’s profits. See 35 U.S.C. §§ 284, 289; Appx9 (“Plaintiff sought damages

on a lost profit theory under 35 U.S.C. § 284”); Appx5257-58 (acknowledging lack

of reasonable royalty as option for damages). Having failed to proffer any other

evidence, Dynamite cannot now claim damages other than its lost profits. See

Hafco Foundry & Mach. Co. v. GMS Mine Repair & Maint., Inc., No. 15-16143,

2018 U.S. Dist. LEXIS 106291, at *15-*16 (S.D.W. Va. June 26, 2018) (“Where

the record lacks any evidence of a reasonable royalty rate, the Federal Circuit has

approved of awarding ‘zero damages’ because ‘[t]he statute [35 U.S.C. § 284]

requires the award of a reasonable royalty, but to argue that this requirement exists
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even in the absence of any evidence from which a court may derive a reasonable

royalty goes beyond the possible meaning of the statute.’”); Rosco, 626 F. Supp. 2d

at 332 (“When the patentee cannot provide sufficient evidence to establish lost

profits, the Court determines a reasonable royalty taking into account the Georgia-

Pacific factors, to the extent that there is evidence in the record.”).

      Proving lost profits damages hinges on a “but for” analysis, where Dynamite

bears the burden to show that there was “a reasonable probability that, ‘but for’ the

infringement, [Dynamite] would have made the sales that were made by the

[Sherman].” Datascope Corp. v. SMEC, Inc., 879 F.2d 820, 826 (Fed. Cir. 1989);

see also Grain Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1356

(Fed. Cir. 1999) (articulating need for “reliable economic proof of the market that

establishes an accurate context to project the likely results ‘but for’ the

infringement.”). Dynamite failed, however, to demonstrate, as a matter of law, that

“but for” Sherman’s sales of the purportedly infringing product, Dynamite would

have made all of Sherman’s sales. Panduit, 575 F.2d at 1156.

      A.     There Is Insufficient Evidence on the Absence
             of Acceptable Non-Infringing Substitutes to
             Support the Jury’s Verdict

      “The second [Panduit] factor—the absence of non-infringing alternatives—

considers demand for particular limitations or features of the claimed invention.”

Group One Ltd. v. GTE GmbH, 625 F. Supp. 3d 28, 74 (E.D.N.Y. 2022) (citing


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Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1285 (Fed. Cir. 2017)).

This factor “often proves the most difficult obstacle for patent holders.” Mentor

Graphics Corp., 851 F.3d at 1286. “[I]f the customer would have bought the

infringing product without the patented feature or with a different, non-infringing

alternative to the patented feature, then the patentee cannot establish entitlement to

lost profits for that particular sale.” Id. Accordingly, the patentee must “take[]

into account any alternatives available to the infringer.” Grain Processing Corp.,

185 F.3d at 1351. Critically, “market sales of an acceptable noninfringing

substitute often suffice alone to defeat a case for lost profits.” Id. at 1352.

      Pursuit of lost profit damages with respect to a design patent is particularly

problematic, as detailed in the seminal Carpet Cases, since there is no implicated

patented invention or feature but simply a claimed design. See Dobson v. Hartford

Carpet Co., 114 U.S. 439, 445 (1885) (“A design or pattern in ornamentation or

shape appeals only to the taste through the eye, and is often a matter of evanescent

caprice. The article which embodies it is not necessarily or generally any more

serviceable or durable than an article for the same use having a different design or

pattern. Approval of the particular design or pattern may very well be one motive

for purchasing the article containing it, but the article must have intrinsic merits of

quality and structure, to obtain a purchaser, aside from the pattern or design.”);

Dobson v. Dornan, 118 U.S. 10, 17-18 (1886) (“[T]here can be no presumption


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that the plaintiffs would have sold their better quality of carpets in place of the

defendants’ poorer quality, if the latter had not existed, or that the pattern would

have induced the purchasers from the defendants to give to the plaintiffs the higher

price. On the contrary, the presumption is at least equal that the cheaper price, and

not the pattern, sold the defendants’ carpets.”).

      Dynamite could not, and did not, adequately prove an absence of acceptable

non-infringing substitutes. Shlaferman explicitly shared his knowledge of

acceptable non-infringing substitutes in his testimony. Appx4398-99; Appx4911-

12 (“Q. Have you seen more than ten [wallet-sized multi-tools] on the market

before? A. Yes. Q. More than 50? A. It’s hard to give a number to it.”).14

      Shlaferman’s decision to develop his own multi-purpose tool, which later

became the Wallet Ninja, came after he discovered the Pocket Monkey and after he

failed to secure a deal to be an exclusive distributor of the Pocket Monkey.

Appx4398-99. Shlaferman and Dynamite’s predecessor company were later sued

by the maker of the Pocket Monkey for patent infringement upon introducing the

Wallet Ninja. Appx5903-04; see Hafco, 2018 U.S. Dist. LEXIS 106291, at *13-

*14 (observing that, as the patent owner was involved in litigation with another




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         “Wallet-sized” denotes a size sufficient to fit inside a wallet, namely the
credit card slots therein; hence, the alternative use of “credit card-sized,” which
more accurately describes the relevant product dimensions.
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competitor regarding the relevant products, there was not a two-supplier market

and that acceptable non-infringing alternatives could exist).

      During the trial, Sherman properly renewed its objection to the report and

testimony of Dynamite’s damages expert, Ms. Schenk, as deficient because of her

lack of expertise in the promotional products market, her failure to conduct any

independent analysis on the absence of non-infringing alternatives, her complete

reliance on Shlaferman and other experts, and her speculative lost profits

calculation; the court nevertheless permitted Schenk to testify despite these

deficiencies. Appx4783-84. In addition to this Court’s overturning the jury’s

verdict for its reliance on evidence that should have been excluded, the evidence

provided by Schenk and Dynamite’s witnesses is insufficient to support the

damages claims.

      When provided with Sherman’s non-exhaustive list of acceptable non-

infringing alternatives that she had purportedly previously reviewed, Schenk

confirmed that she “did not look at each individual multi-tool that is laid out here.”

Appx1711-14.15 Notably, Schenk could not agree to the basic statement that “in



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         As noted in Schenk’s Reply Expert Report, additionally proffered non-
infringing alternatives included Chinese Patent CN202174590 (bank card-like
sized multi-purpose tool), U.S. Patent D707,091 (design patent directed to the
Pocket Monkey), U.S. Patent D266,479 (multi-purpose tool), and the M48
Kommando Pocket Rescue Tool. Appx6559-60; Appx6607-11; Appx6627.
Schenk dismissed all of these solely due to the lack of “hex shapes open along the
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this case, an example of an acceptable non-infringing alternative might be another

multitool.” Appx4980-81. She could not even articulate what a potential

acceptable non-infringing substitute would look like, evasively responding that

“[i]n this case, I was not able to find any [acceptable non-infringing substitutes]

that were available on the market.” Appx4981. A critical deficiency of Schenk’s

analysis is her disregard of not only the Pocket Monkey, but also alternative Wallet

Ninja products that do not infringe the claimed design, particularly the subsequent

Wallet Ninja Pro (reproduced below along with the original Wallet Ninja), on the

basis that this product, despite its inclusion of those “hex shapes open along the

edges” and Schenk’s acknowledgment that “the Wallet Ninja Pro is not covered by

the Patent-in-Suit,” could not be considered an acceptable non-infringing substitute

because of its “lack of imprint area” for promotional purposes. Appx6561. See

Rosco, 626 F. Supp. 2d at 332 (party’s sale of acceptable non-infringing substitute

product, in addition to its product covered by a U.S. design patent, sufficient to

defeat lost profits claim).




edges” (Appx6560), which was a chief contribution of co-inventor Cooper to the
claimed design.
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      Schenk’s testimony rings hollow due to her admission that she failed to seek

out whether any such substitutes existed in the first place. Appx4988-90 (“I didn’t

go searching for alternative products”). Instead, as the basis for her opinion, she

relied solely upon Shlaferman and Dynamite’s additional expert, Mr. Bronson.

Appx4990-91 (“I personally did not, so I relied on my discussions with Mr.

Shlaferman, Mr. Bronson, to identify anything that they’re aware of in the market

that would have been available.”). Shlaferman, however, testified that he also

failed to search for acceptable non-infringing substitutes, admitting his lack of

understanding of what is meant by this term. Appx4913 (“Q. Do you know what

an acceptable noninfringing alternative is? A. No.”); Appx4914-15. Moreover,

both Shlaferman and Bronson could not confirm whether they reported to Schenk

that no acceptable non-infringing alternatives to the Wallet Ninja were available.

Appx4765 (Bronson: “I have no idea.”); Appx4912-13 (Shlaferman: “I can’t recall

my conversation with her.”).

      Schenk’s conclusions also run contrary to Shlaferman’s testimony regarding

the immense number of different available credit card-sized multi-tools on the

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market. Appx4983 (“Q. And you’re aware that there are possibly hundreds of

different wallet-sized multitools available in the promotional products market, is

that right? A. I think that may be consistent with Mr. Shlaferman’s testimony from

this morning. I can’t remember if he said he knew it was a hundred wallet-sized or

if it was a hundred more generally, but, if that’s what he said, I have no reason to

dispute.”); see also Appx4398-99 (Shlaferman’s knowledge and pursuit of the

Pocket Monkey); Appx4911-12 (Shlaferman’s acknowledgement of a plurality of

wallet-sized multi-tools on the market). Schenk’s regurgitation of the unsupported

opinions of Shlaferman and Bronson constitutes deficient and inadmissible

evidence. See Pacific Life Ins. Co. v. The Bank of N.Y. Mellon, 571 F. Supp. 3d

106, 115-16 (S.D.N.Y. 2021) (“[T]he Court will preclude proffered witnesses who

simply aggregate or recite the opinions of others. . . . [A]n expert may not merely

adopt another expert’s opinions as his or her own reflectively and without

understanding the materials or methods underlying the other expert’s opinions.”);

EZ Dock, Inc. v. Schafer Sys., Inc., No. 98-2364, 2003 U.S. Dist. LEXIS 3634, at

*15-*17 (D. Minn. Mar. 8, 2003) (expert’s reliance on another expert’s testimony

as evidence of a lack of non-infringing alternatives was insufficient to satisfy the

second Panduit factor; “[Cobb] has deferred to Wortley’s analysis and opinions.”);

Finalrod IP, LLC v. Endurance Lift Sols., Inc., No. 20-00189, 2021 U.S. Dist.

LEXIS 202681, at *6-*9 (E.D. Tex. Oct. 20, 2021) (precluding expert from


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opining as to existence of acceptable non-infringing alternatives where expert

relied upon conversation with another expert who failed to disclose underlying

analysis/support).

      In short, Dynamite and its experts inappropriately concluded that there was a

lack of acceptable non-infringing alternatives, dismissing the Pocket Monkey,

Dynamite’s own non-infringing Wallet Ninja Pro, and the plurality of credit card-

sized multi-tools disclosed by various experts. Appx5211-12 (Eisgruber

testimony). Schenk’s conclusions concerning acceptable non-infringing

alternatives are defective due to her failure to review or compare potential

alternatives and ignoring a portfolio of documented credit card-sized multi-tools,

including those well-known to Dynamite.

      Accordingly, Schenk’s testimony cannot serve to support the jury’s verdict.

See Weisgram v. Marley Co., 528 U.S. 440, 454 (2000) (inadmissible expert

testimony cannot support verdict because it “contributes nothing to a ‘legally

sufficient evidentiary basis’”).

      B.     There Is Insufficient Evidence on the Demand for the
             Patented Product to Support the Jury’s Verdict

      Dynamite’s proffered evidence was similarly deficient with respect to the

first Panduit factor – demand for the patented product. This is not only the result

of its lack of proof, but also Dynamite’s seeking lost profits for infringement of a

design patent. Applying the reasoning of the Carpet Cases (pgs. 45-46 supra), it is
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unclear how to differentiate demand for a product based on its protected design

from the unprotected functional elements as well as other factors, including price.

See Appx8 (The court finding that “the invention’s myriad functions drive its

value, not the niceties of the appearance—or arguably even the utility—of a

particular feature.”) (emphasis added).

      Schenk again provided no independent analysis on this factor, instead

relying on Bronson, who merely speculated to Schenk that the Wallet Ninja had a

“cool factor” and became “hot” on this basis. Appx4993-94. Bronson failed to

provide any substantiation for this claim, including conducting surveys, consumer

interviews, and analyses quantifying the purported demand; in fact, Bronson

contrarily testified that he did not recall telling Schenk that the Wallet Ninja was

well-known. Appx4761-62. Bronson’s “cool factor” alone does not suffice from

an evidentiary standpoint. See Oiness v. Walgreen Co., 88 F.3d 1025 (Fed. Cir.

1996) (reversal of a jury’s verdict and subsequent award of lost profits due to

damages expert’s “rapt,” “bald speculation”); Litton Sys., Inc. v. Honeywell, Inc.,

87 F.3d 1559, 1576-77 (Fed. Cir. 1996) (plaintiff’s damages expert report deemed

to be “pure fantasy,” and affirming grant of a new trial on damages).

      Equally speculative is Schenk’s unfounded conclusion that Dynamite would

have captured 100% of Sherman’s sales, such determination not based on her own

analysis but relying entirely on Bronson’s unsupported opinions. See, e.g.,


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Appx4931; Appx4759-65; Appx6428.16 As a result, Dynamite claimed lost profits

of approximately $1.9 million based on lost sales of approximately $2.8 million.

Appx4952-54. This would constitute a non-credible profit margin of 68%. See

SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1167 (Fed.

Cir. 1991) (affirming that lost profits should not be awarded because a “50% profit

margin” was “incredible,” and thus the Panduit lost profits test could not be

satisfied). These farcical numbers reflect Schenk’s admission that they were based

on self-serving information provided by Shlaferman. Appx4927; Appx4986-87;

Pacific Life, 571 F. Supp. 3d at 115-16 (“[T]he Court will preclude proffered

witnesses who simply aggregate or recite the opinions of others. . . “[A]n expert

may not merely adopt another expert’s opinions as his or her own reflectively and

without understanding the materials or methods underlying the other expert’s

opinions.”).

      Made more egregious is Shlaferman’s confirmation that he was unqualified

to provide such information, acknowledging he is “not an expert on the [relevant]


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         As a separate matter, there is insufficient evidence that the third Panduit
factor has been met, namely marketing capability/capacity to exploit demand.
Schenk again relies on Shlaferman’s unsupported claim that Dynamite “could have
done it,” despite Dynamite’s acknowledgement that it has only “two employees.”
Appx5213-14 (Eisgruber: no evidence by Dynamite of “significant effort into their
marketing direct to distributors.”); Appx4880 (“I have one employee, Marsha May
[sic], and her and I were able to just work together and keep up the demand of the
product.”).

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market.” Appx4906.17 Ultimately, Appellee’s calculations and analysis are

impermissibly untethered to reliable data. DSU Med. Corp. v. JMS Co., Ltd., 471

F.3d 1293, 1309 (Fed. Cir. 2006) (“‘To prevent the hypothetical from lapsing into

pure speculation, this court requires sound economic proof of the nature of the

market and likely outcomes with infringement out of the picture.’ . . . Indeed, the

concept of sound economic proof requires some grounding in ‘sound economic and

factual predicates.’ . . . While damages analysis invariably involves hypothetical

reconstruction of a ‘but for’ marketplace, that reconstruction must include some

footing in economic principle, which the trial court found lacking.’”) (citing Grain

Processing Corp., 185 F.3d at 1350, and Riles v. Shell Expl. Prod. Co., 298 F.3d

1302, 1311 (Fed. Cir. 2002)); Oiness, 88 F.3d at 1032 (reversing lost profits award

because plaintiff’s damages expert “admits he did not conduct any market surveys”

in relevant market).

      A fundamental, yet unsupported, assumption to Dynamite’s damages claim

is that Sherman’s customers would agree to pay somewhere between 3.1 and 6.5

times more per unit for the Wallet Ninja over Sherman’s product (Appx6428),



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         Shlaferman is not permitted to provide testimony on alleged lost profit
damages when he is not qualified as an expert, which he freely admits. Lambland,
Inc. v. Heartland Biogas, LLC, No. 22-1184, 2023 U.S. App. LEXIS 31726, at
*22-*23 (10th Cir. Nov. 30, 2023) (vacating damages award because “the district
court violated Federal Rule of Evidence 701(c) by allowing [plaintiff’s executive]
to give lay opinion testimony about [plaintiff’s] projected profits.”).
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despite Sherman’s products being sold in the promotional market and Dynamite’s

Wallet Ninja products being sold primarily in the retail market at a price point four

times higher. Appx4734 ($1 vs. $4-$5 per unit); Appx4900-01 (Shlaferman’s

testimony on price disparity); Appx5002-04 (Schenk distinguishing promotional

and retail markets); Appx5227 (Dynamite’s counsel: “[Sherman] sell them for

about a dollar.”). The alleged support for this assumption was not data or

evidence, but rather Bronson’s broad statement that “customers are often willing to

pay more for a unique and desirable product that enhances the perceived value of

their brand.” Id. This wide price disparity between the Wallet Ninja and the

accused product weighs in Sherman’s favor in the Panduit analysis. BIC Leisure

Prods. v. Windsurfing Int’l, 1 F.3d 1214, 1218 (Fed. Cir. 1993) (“The record in this

case does not evince a reasonable probability that Windsurfing would have made

its pro rata share of BIC’s sales had BIC not been in the market. . . . BIC’s

[purchasing] customers demonstrated a preference for sailboards priced around

$350, rather than [Windsurfing’s] One-Design boards priced around $600.

Therefore, without BIC in the market, BIC’s customers would have likely sought

boards in the same [lower] price range.”); Dornan, 118 U.S. at 18 (1886) (“There

was no satisfactory testimony that those who bought the cheap carpets from the

defendants would have bought the higher priced ones from the plaintiffs. . .”); see

also 7 CHISUM ON PATENTS § 20.05[2][e][vi] (2023) (“Evidence of causation has


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been found insufficient when the infringer charged a significantly lower price than

the patent owner.”).

      C.     The Jury Charge and Jury Award Failed to Differentiate
             Between the Key Time Periods for Damages

      As raised at trial (Appx5274-75), the jury charge did not account for the fact

that Dynamite only received an assignment of the D’877 patent from prior patent

owner Vante Inc. on May 18, 2018, which assignment failed to grant Dynamite the

right to sue for past infringement. Appx5664-66; Appx4385-86. In light of this

failure to include an express provision in the assignment conveying this right to

Dynamite, Dynamite lacks the ability to recover for past infringement. Arachnid,

Inc. v. Merit Indus., 939 F.2d 1574, 1579 n.7 (Fed. Cir. 1991) (“The authorities are

uniform that [‘an assignment of a right of action for past infringements’] must be

express, and cannot be inferred from an assignment of the patent itself.”); Abraxis

Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359, 1367 (Fed. Cir. 2010) (“A party

may sue for past infringement transpiring before it acquired legal title if a written

assignment expressly grants the party a right to do so.”) (emphasis added).

Ultimately, Dynamite’s damages analysis was based on, and included, sales

predating May 18, 2018. Appx4943-44; Appx6418-19. Accordingly, the damages

award for infringement of the D’877 patent improperly included damages

concerning sales of Sherman’s accused product occurring before May 18, 2018,

with both the jury charge and its award failing to make such a distinction and
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despite the court’s “hope” that this issue would not “mean another trial.”

Appx5275.

      Separately, the jury was insufficiently informed as to the division of

damages among the original and redesigned versions of the accused Sherman

product. As Sherman objected at trial (Appx5275-76), the jury charge failed to

account for the multiple relevant time periods in this damages determination,

particularly before and after Sherman began selling its redesigned product in place

of its original product. Over Sherman’s objection, the court permitted the

conflation of two distinct products and their separate sales periods, as sought by

Dynamite. Appx5275-76. This failure to appropriately articulate in the jury

instructions the existence of different relevant time periods associated with the sale

of Sherman’s distinct products in the damages determination at a minimum

warrants remand.

VII. The District Court’s Award of Attorney’s Fees and Other
     Fees and Costs Should Be Set Aside

      A.     The District Court’s Findings Directed to Enhanced
             Damages Are Irrelevant and Inapplicable

      After trial, Sherman brought a JMOL motion for no willfulness. The court

denied Sherman’s motion but also denied Dynamite’s request for an award of

enhanced damages under 35 U.S.C. § 284. Appx18 (court “declines to award

enhanced damages”). In connection with Dynamite’s motion for enhanced


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damages, the court made findings regarding Sherman’s alleged “bad conduct”

(Appx15-16), all of which Sherman disputes. Despite these findings, the court did

not award enhanced damages to Dynamite. The court awarded Dynamite

attorney’s fees in place of enhanced damages. Appx18 (“Here, the amounts sought

for attorneys’ fees, expert fees and costs—totaling over $1.5 million plus interest—

is roughly equivalent to an award of double damages, which here would amount to

an additional $1.85 million.”). The court did not rely on either the jury’s verdict

on willfulness or its findings from the enhanced damages analysis in connection

with the award of attorney’s fees under 35 U.S.C. § 285.

      B.       Award of Attorney’s Fees and Other Fees and Costs
               to Dynamite Should Be Set Aside As Erroneous and
               an Abuse of Discretion

      Analyzing whether the action represents an “exceptional case” in light of

Sherman’s litigation conduct only, the court exercised its discretion to award

attorney’s fees to Dynamite under § 285. Appx17-18 (“[T]he Court hereby awards

the amounts sought as requested, which will compensate plaintiff for the costs of

this protracted litigation while simultaneously serving the ameliorative purposes of

an award of enhanced damages under § 284. … Thus, the Court hereby exercises

its discretion to impose attorneys’ fees, expert fees and costs.”).18 The court’s

award of attorney’s fees was erroneous and constituted an abuse of discretion.


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           The court never concluded the case is “exceptional.”
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      This Court set out the framework for a district court to award attorney’s fees

in Rembrandt Techs., LP v. Comcast of Fla./Pa., LP, 899 F.3d 1254, 1278-79 (Fed.

Cir. 2018), as follows:

      Appellees do not dispute that attorney fees under § 285 are
      compensatory, not punitive. Cent. Soya Co. v. Geo. A. Hormel & Co.,
      723 F.2d 1573, 1578 (Fed. Cir. 1983). In such a “statutory sanction
      regime[ ],” a “fee award may go no further than to redress the
      wronged party ‘for losses sustained’; it may not impose an additional
      amount as punishment for the sanctioned party’s misbehavior.” …
      Deterrence “is not an appropriate consideration in determining the
      amount of a reasonable attorney fee.” Lumen View, 811 F.3d at 484–
      85. It follows, as we have held, that “the amount of the award must
      bear some relation to the extent of the misconduct.” Rambus Inc. v.
      Infineon Techs. AG, 318 F.3d 1081, 1106 (Fed. Cir. 2003). We have
      explained that “[a] finding of exceptionality based on litigation
      misconduct[ ] . . . usually does not support a full award of attorneys’
      fees.” Highmark, Inc. v. Allcare Health Mgmt. Sys., Inc., 687 F.3d
      1300, 1316 (Fed. Cir. 2012), vacated on other grounds, ––– U.S. –––
      –, 134 S. Ct. 1744, 188 L.Ed.2d 829 (2014). … The district court
      must explain that relationship, at least to the extent practicable.

      The court failed to follow the Court’s prescription in Rembrandt.

Significantly, the court incorrectly conflated the purposes of enhanced damages

under § 284 and attorney’s fees under § 285, awarding attorney’s fees as

punishment to Sherman rather than as compensation for Dynamite. See

Spectralytics, Inc. v. Cordis Corp., 649 F.3d 1336, 1349 (Fed. Cir. 2011) (the

analyses for enhanced damages and attorney’s fees are separate). Since the court

did not award enhanced damages under § 284—and thus specifically declined to

address the punishment aspect—the award of attorney’s fees for “simultaneously


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serving the ameliorative purposes of an award of enhanced damages under § 284”

(Appx18) was contrary to law and constituted an abuse of discretion.19

      The court’s award of attorney’s fees was not based on the jury’s willfulness

finding,20 but rather focused only on the alleged “unreasonable manner in which

the case was litigated,” including that the case was “hard-fought.” Appx16-17.

The court’s discussion of Sherman’s purported unreasonable litigation conduct in

connection with the award of attorney’s fees was cursory and unsupported

(Appx17):

      And defendants’ approach to this case, which was (and remains)
      highly unreasonable, certainly justifies an award of attorneys’ fees.
      For example, defendants unnecessarily multiplied the proceedings by
      bankrolling Cooper’s inventorship claims, which bordered on
      frivolity. Moreover, defendants[’] continued adoption of
      unreasonable positions, several of which are cataloged herein, plainly,
      and unfairly, added unjustified layers of complexity and expense to
      the resolution of the case.

The court had no basis to conclude that Sherman’s positions and defenses to

Dynamite’s infringement claims, including those relating to non-infringement,


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         The court’s vague statement, “Plainly, defendants’ conduct, both during
the underlying infringement as well as the course of the litigation, satisfies the
requisite for the shifting of attorneys’ fees and other costs and justify the
imposition of an award of enhanced damages” (Appx18) fails to distinguish
between the bases for awarding or denying attorney’s fees and enhanced damages.
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        Cf. SRI Int’l, Inc. v. Cisco Sys., Inc., 14 F.4th 1323, 1326 (Fed. Cir. 2021)
(“In awarding fees, the district court also took into account ‘the fact that the jury
found that Cisco’s infringement was willful.’”).

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invalidity, and incorrect inventorship, were baseless or frivolous. The court’s and

the jury’s determinations adverse to Sherman do not make them so. This case

involved several complex issues, none of which were resolved before trial despite

the parties’ attempts.21 The court did not identify which, if any, of Sherman’s

positions was unreasonable. In addition, that the litigation was “hard-fought” does

not justify an award of attorney’s fees. See Presidio Components, Inc. v. Am.

Tech. Ceramics Corp., 875 F.3d 1369, 1382 (Fed. Cir. 2017). Setting aside the

court’s unsubstantiated and incorrect descriptions of Sherman’s litigation conduct,

nothing about Sherman’s approach to the case should be deemed unreasonable.22

Thus, the court’s factual findings in connection with its award of attorney’s fees

were clearly erroneous.


      21
          The court refused to conduct a § 256 hearing on inventorship and to
decide legitimate pre-trial issues, such as motions in limine to exclude expert
testimony. Appx54-55. Moreover, as set forth above, the inventorship claim is
substantial, and Sherman’s compensating Cooper for his involvement in this case
to obtain an assignment of the patent was reasonable and not unprecedented. See
Ethicon, 135 F.3d at 1459 (defendant obtained a retroactive license from an
unnamed co-inventor, Choi, and “agreed to pay Choi contingent on its ultimate
ability to continue to practice and market the invention” pending the outcome of an
inventorship claim, with Choi agreeing to assist the defendant).
      22
         In further contrast to the court’s assertions about Sherman’s approach to
this case, shortly before the trial, the court articulated its views that the conduct of
both parties was reasonable one day and unreasonable another. Appx5625-26 (“So
counsel, good work today and I think you all did a very fine job on the submissions
which allowed me to cut through this without a lot of additional expense and
delay.”); Appx54 (asserting “[t]he parties have remained intransigent” in
connection with preparing the pre-trial order).
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      Significantly, the court failed to explain the basis for the amount of the

attorney’s fees award or the relationship of the amount of the award to the extent of

the asserted misconduct. The court never found the case “exceptional,” but

nevertheless awarded attorney’s fees based entirely on unidentified litigation

misconduct by Sherman. Pursuant to its flawed analysis, the court tied the amount

of the attorney’s fees award to the quantum of damages awarded—not to the

asserted litigation misconduct or any particular litigation activities. Appx18.

Further, the court did not and could not explain, as this Court required in

Rembrandt, the relationship between the amount of the award and the extent of the

alleged misconduct, since such misconduct was unspecified.

      Therefore, the court’s award of attorney’s fees to Dynamite is arbitrary and

an abuse of discretion. Moreover, given the inadequacies tainting the attorney’s

fees award, the court’s award of expert fees, costs, and pre-judgment interest

(Appx17-18) should be overturned along with the award of attorney’s fees.

         CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      For the reasons set forth herein, Sherman respectfully requests that the Court

reverse the district court’s Judgment. This Court should overturn the jury’s verdict

and the court’s denials of the JNOV motions and motions for a new trial, as well as

set aside the permanent injunction. This Court may reverse and rule that Cooper is

a co-inventor, including dismissing the case for Dynamite’s lack of standing, or


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remand with instructions first to conduct a bench trial on the inventorship claim;

reverse and rule in Sherman’s favor on the basis of one or more of non-

infringement by Sherman, invalidity for functionality and/or obviousness; and set

aside or reduce the award of damages, attorney’s fees, and other fees and costs.




                                       Respectfully submitted,

Dated: April 29, 2024                  /s/ Jeffrey L. Snow
                                       JEFFREY L. SNOW
                                       JOSEPH V. MICALI
                                       PRYOR CASHMAN LLP
                                       Seven Times Square, 40th Floor
                                       New York, New York 10036
                                       (212) 421-4100
                                       jsnow@pryorcashman.com
                                       jmicali@pryorcashman.com

                                       Counsel for Defendants-Appellants
                                       The WowLine, Inc., Sherman Specialty, Inc.,
                                       and Sherman Specialty LLC




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                Addendum
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                Order for Permanent Injunction
162             Judgment                         01/22/2024          Appx23
                United States Patent D751,877                        Appx26




                                  i
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                                                                                      FILED
   UNITED STATES DISTRICT COURT                                                       CLERK
   EASTERN DISTRICT OF NEW YORK                                            3:55 pm, Dec 01, 2023
   ------------------------------------------------------------------X
                                                                                U.S. DISTRICT COURT
   DYNAMITE MARKETING, INC.,                                               EASTERN DISTRICT OF NEW YORK
                                                                                LONG ISLAND OFFICE
                                      Plaintiff,                         MEMORANDUM &
                                                                         ORDER
                                                                         CV 19-3067 (GRB)(AYS)
                    -against-

   THE WOWLINE INC., SHERMAN
   SPECIALTY, INC., SHERMAN
   SPECIALTY LLC,
   WWW.SUPERIORPROMOS.COM,
   WWW.4ALLPROMOS.CO,
   UNKNOWN WEBSITES 1-10, VARIOUS
   JOHN DOES 1-10, and UNKNOWN
   ENTITIES 1-10,

                                       Defendants.
   ------------------------------------------------------------------X

   DYNAMITE MARKETING, INC.,

                                      Plaintiff,

                    -against-

   4TH DIMENSION INNOVATIONS, INC.,
   by and through its former officer, LAERIK
   COOPER, and LAERIK COOPER, individually,

                                      Defendants.


   ------------------------------------------------------------------X
   GARY R. BROWN, United States District Judge:




                                                           1




                                                       Appx1
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          In The Honeymooners, a 1950s television sitcom, lead characters Ralph Kramden (Jackie

   Gleason) and Ed Norton (Art Carney) endeavored to film an infomercial for an all-purpose

   contraption called the “Handy Housewife

   Helper” that purportedly could open bottles

   and cans, tighten screws, scale fish, cut glass,

   sharpen scissors and knives, grate cheese,

   remove corns and famously “core a apple.”

   The duo endeavored to market this item with

   the goal of generating $2,000 in revenue.

   Predictably (and amusingly), the plan met

   with disastrous failure.

          This case involves a design patent dispute over another multi-purpose tool, known as the

   “Wallet Ninja.” Like its sitcom predecessor, the credit card-sized Wallet Ninja claims to

   embody a broad panoply of functions, including opening cans and bottles and tightening screws.

   Unlike the “Handy Housewife Helper,” the Wallet Ninja proved wildly successful, generating

   millions in revenue. And with this success came an unwanted side effect: the defendants

   knocked off the device, leading a jury, following careful consideration of the evidence presented

   at trial, to uphold the validity of plaintiff’s design patent (USD751,877 (“‘877”)), find that

   defendants willfully infringed that patent and award plaintiff $1.85 million in compensatory

   damages. DE 127. That verdict followed on the heels of the jury’s initial determination that the

   claims to inventorship by defendant LaErik Cooper—a putative coinventor whose claims were

   subsidized and championed by Sherman to torpedo Dynamite’s patent claims—lacked substance,

   as Cooper failed to prove that he had made substantial contribution to the ‘877 patent. DE 124.



                                                      2




                                                 Appx2
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          Presently at issue are a phalanx of post-trial motions by the parties. Defendants attack the

   verdict on several fronts, seeking judgment as a matter of law, a new trial and/or remittitur on the

   issues of inventorship, damages, standing, validity, infringement and willfulness. Plaintiff seeks

   enhanced damages and attorney’s fees. For the reasons that follow, defendants’ motions are

   DENIED in their entirety, and plaintiff’s motion is GRANTED IN PART.

          Background

          During the trial, the parties developed an extensive factual record, which is only

   summarized here as background for the pending motions.

          Around 2003, Alex Shlaferman, Dynamite’s principal, devised the concept of the Wallet

   Ninja, setting out to design a multitool that he could market. He drew a rough outline on a

   whiteboard, sending that drawing and other information to defendant Cooper. Tr. 67-69.

   Cooper, a mechanical engineer, operated a business that offered to create mechanical drawings

   for inventors. His website boasted a commitment to protecting the rights of inventors, including

   the phrase “Helping to Engineer Your Ideas” in its logo, and representing that “Your ideas

   remain just that, your ideas.” Tr. 295; DE 139 at 6; Pl. Ex. 6. Shlaferman paid him hourly to

   produce various drawings for the Wallet Ninja and several other projects. Tr. 280. Cooper

   provided drawings that he helped create under this arrangement to Shlaferman’s patent lawyer.

   Tr. 290. In 2014, Shlaferman filed for a design patent protecting certain features of the device,

   which was granted in 2016. Tr. 99, 293.

          The Wallet Ninja enjoyed remarkable market success, being distributed through major

   retailers and obtaining significant rankings on Amazon.com. Tr. 563, 566, 644. In 2017,

   defendant Davila, on behalf of the Sherman defendants, sent a catalog photo of the device to




                                                    3




                                                Appx3
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   three producers in China seeking bids for supply. 1 Tr. 541, 735–37; Def. Ex. 150–52. The

   Sherman defendants began selling a knockoff that they acknowledge infringes plaintiff’s patent;

   even after learning of the infringement, the group continued to sell through the inventory of the

   items they commissioned. Tr. 736–78. After receiving a 2018 cease and desist letter from

   plaintiff, Pl. Ex. 119, defendants “redesigned” the product—without making any meaningful

   changes 2—and continued to sell the product unabated. Tr. 739. In fact, defendants’ design

   expert deemed the replacement product “pretty identical” to its first version, also characterizing

   the new design as “a direct knockoff [or] a direct cloning” of the original design, leading to

   testimonial confusion between the two items. Tr. 821–23. Defendants created a blatantly false

   letter designed to reassure customers that their new design did not infringe plaintiff’s patent.

   Def. Ex. 183. Overall, the various iterations of the knockoff proved the bestselling tool marketed

   by the Sherman defendants, and the group distributed approximately 800,000 units. Tr. 740,

   759.

           After the filing of this litigation, the Sherman defendants obtained an assignment of

   Cooper’s rights as a putative inventor, 3 trying to invoke a standing doctrine that requires the

   consent of all inventors to proceed with patent litigation. See Ethicon, Inc. v. U.S. Surgical

   Corp., 135 F.3d 1456 (Fed. Cir. 1998); Advanced Video Technologies LLC v. HTC Corporation,

   879 F.3d 1314 (Fed. Cir. 2018). The Sherman defendants paid Cooper’s legal fees and all

   related expenses. Tr. 302–03, 757. Such payment represented a quid pro quo for assignment of



   1
     It’s not clear whether defendants were aware at that time that the device was patented. Though admittedly familiar
   with intellectual property issues, they did no due diligence. In time, the testimony revealed, they would
   unquestionably learn of the patent through the receipt of a cease and desist letter from plaintiff. Their behavior
   became, if anything, demonstrably worse.
   2
     Compare, e.g., Def. Ex. 173 at 62, with Def. Ex. 174 at 86.
   3
     Prior to the commencement of trial, the Court raised the validity of Cooper’s nunc pro tunc assignment of his
   rights, if any, to the invention to Sherman. DE 114-1. The jury’s determination concerning Cooper’s claims mooted
   these concerns.

                                                            4




                                                       Appx4
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   the rights he might have held in the patent. Tr. 277. In a bifurcated trial, the jury first

   determined that Cooper was not an inventor, and then proceeded to determine infringement,

   invalidity and damages. The jury’s findings, contained in two verdict forms, establish that

   Cooper failed to prove that he had made significant contributions to the claimed design of the

   ‘877 patent; that the ‘877 patent was not invalid either on the basis of obviousness or lack of

   ornamentality; the defendants infringed the ‘877 patent; that the infringement was willful; and

   that plaintiff proved damages in the amount of $1.85 million. DE 124; DE 127. These motions

   follow.

             Discussion

             Applicable Standard for Post-Verdict Motions

             A post-verdict motion under Fed. R. Civ. P. 50(b) for judgment as a matter of law in this

   Court is decided under the decisional authority of the Court of Appeals for the Second Circuit.

   DE 135 at 3; DE 140 at 4. Thus, defendants’ motions seeking judgment as a matter of law, a

   new trial and remittitur are decided based upon the well-established standard for the

   consideration of such motions in this Circuit as discussed in detail in Anderson v. Aparicio, 25 F.

   Supp. 3d 303 (E.D.N.Y. 2014), aff’d and remanded sub nom. Anderson v. Cty. of Suffolk, 621 F.

   App’x 54 (2d Cir. 2015), which discussion is hereby incorporated by reference.

             Against this backdrop, defendants’ motions are easily dispatched.

             1. Cooper’s Inventorship Claims and the Issue of Standing

             Defendant Cooper contends that, based on the strength of his purported showing, that no

   reasonable jury could determine that he did not make substantial contributions to the claimed

   invention, rendering him a joint inventor of the design contained in the ‘877 patent. There are

   many problems with counsel’s argument; perhaps the most fundamental is the graphic strawman



                                                     5




                                                 Appx5
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   presented in its brief. In its effort to contrast what it characterizes as “Shlaferman’s minimal

   input” in the creation of the Wallet Ninja to Cooper’s so-called contributions, counsel presents

   the Court with the following illustration:




          S_b_W_~ Drawing:                                              Cooper's Design:




   DE 128 at 7. While such sophistry—masked as artistic license—might prove persuasive to

   someone who did not attend the trial, anyone who paid the slightest attention would quickly

   recognize this as misdirection. As the record makes abundantly clear, the ‘877 patent, which

   contains illustrations (like ‘877’s Fig. 2 below) that resemble the finished product, only makes

   claims to limited portions of the outline of the device, as depicted:




                             FIG. 2


                                                                The Claimed “Solid Line” Areas




                                                     6




                                                 Appx6
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   Thus, the correct comparison for these purposes is not between Shlaferman’s whiteboard design

   and the manufactured product; a fairer comparison lies between the whiteboard and the design

   protected by the patent:




                                                                  Claimed “Solid Line” Areas



   Viewed this way, the differences between Shlaferman’s initial concept and the final patented

   design do not seem quite so significant, and counsel’s presentation treads perilously close to an

   attempt to mislead the Court.

          And the analysis does not end there. In itemizing Cooper’s comparative contributions to

   the Wallet Ninja, counsel notes that “[a]s just one example, Shlaferman’s design above did not

   include the hex-shaped cutouts at the bottom of the Wallet Ninja.” DE 128 at 7. First, the hex

   cutouts encompass the only example of an element contributed by Cooper. More importantly,

   however, as the evidence makes clear, the inclusion of hex wrenches was Shlaferman’s idea

   during their iterative exchanges. Tr. 134–35, 164. Cooper can only be credited, as counsel later

   clarifies, with “the placement and size of the hex-shaped design elements.” DE 128 at 9. Thus,

   far from making a clear and convincing showing of inventorship, Cooper’s contributions to the


                                                    7




                                                Appx7
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   patented design could best be described as incidental.

           In fact, Cooper’s claim that the positioning of the hex nut cutouts constituted a

   “significant contribution” finds little support in the record, and is subject to conflicting

   testimony. According to Cooper, he reordered the hex cutouts such that he “made it look like a

   mound,” with the largest one in the center and the others in bilaterally descending size order. Tr.

   175. Cooper claimed that this arrangement not only offered improved functionality by

   increasing the torque for the larger nuts, 4 but offered his view that such an arrangement made the

   tool more aesthetically pleasing. Tr. 174–75. The aesthetic assertion is contradicted by

   testimony from the Sherman defendants that, in creating one iteration of their knockoff, the

   cutouts were “reorientat[ed] to go from smallest to largest,” which they deemed the “proper

   order,” causing the tool to appear “like, a ratchet set [in which] you have a small bit going up to

   the largest bit.” Tr. 698. Cooper’s insistence that his largely ornamental change to a single

   aspect of this device can constitute a substantial contribution fundamentally misapprehends the

   nature of the item at issue in this case. The Wallet Ninja’s packaging wraps the device in

   breathless superlatives hawking the fact that it encompasses “18 Tools in 1” and “fits in your

   wallet.” Pl. Ex. 202. Thus, the invention’s myriad functions drive its value, not the niceties of

   the appearance—or arguably even the utility—of a particular feature. 5

           On this motion, plaintiff urges the Court to apply the doctrine of equitable estoppel as to

   Cooper’s inventorship claims under MCV Inc. v. King Seeley Thermos Co., 870 F.2d 1568 (Fed.

   Cir. 1989), citing an array of facts in support of such application. These facts include Cooper’s


   4
     Notably, “a design may contain both functional and ornamental elements, even though the scope of a design patent
   claim must be limited to the ornamental aspects of the design.” Sport Dimension, Inc. v. Coleman Co., 820 F.3d
   1316, 1320 (Fed. Cir. 2016).
   5
     This aspect of the case is again reminiscent of the attempt to market the Handy Housewife Helper on The
   Honeymooners. During the filming of the show (which was broadcast live), the prop malfunctioned, unexpectedly
   springing a fragment of metal through the air. Covering the gaffe, Gleason improvised. “Maybe we ought to say
   something about spear fishing,” he quipped.

                                                           8




                                                       Appx8
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   general knowledge of the patent process, his specific knowledge of Shlaferman’s efforts to patent

   the Wallet Ninja design, his promises to respect Shlaferman’s inventive ideas, his request to

   Shlaferman to use pictures of the Wallet Ninja on his company’s website and his inexplicable

   silence about inventorship for years after the application for and issuance of the patent. DE 139

   at 12. Considering the jury’s verdict, the Court need not reach the issue of estoppel. However,

   these facts equally support the jury’s finding that Cooper was not a co-inventor and further doom

   defendants’ motion.

          Finally, the Court agrees with plaintiff counsel’s characterization that Cooper dissembled

   on cross-examination. For example, he resisted admitting that he had never made a claim of

   inventorship or assigned rights as to any projects that he had helped design for customers other

   than Shlaferman. Tr. 288–89. At one point, he made a hollow, unsustainable claim that, in

   terms of being named as an inventor on the ‘877 patent, “I thought I was on it.” Tr. 291. His

   testimony, combined with elements of demeanor that do not appear on the cold record, further

   support the jury’s findings on this issue.

          Thus, the jury’s determination cannot, under any circumstances, be described as irrational

   or unlawful, and the Court will not disturb the jury’s considered finding on inventorship. Thus,

   defendants’ motion for judgment as a matter of law is denied. This determination also resolves

   defendants’ motion on the issue of standing, which was expressly conditioned upon a finding of

   co-inventorship. See generally DE 134.

          2. Sherman Defendants’ Motions regarding Damages

          Moving under Fed. R. Civ. P. 50(b), defendants seek reduction of damages via a new trial

   and/or remittitur, claiming that the jury’s award was irrational and excessive. Plaintiff sought

   damages on a lost profit theory under 35 U.S.C. § 284, while defendants argued that their profits



                                                    9




                                                Appx9
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   from the infringement represented a more reliable measure of damages. At the outset, in their

   papers, defendants attempt to mischaracterize the jury’s determination. Counsel asserts that

   “[p]laintiff argued that it was entitled to lost profits of approximately $1.9 million based on lost

   sales of approximately $2.8 million,” which somehow morphs into “speculation that resulted in

   lost profits of over $1.8 million, which the jury apparently accepted.” DE 133 at 9, 11. These

   assertions greatly oversimplify and mischaracterize the evidence before the jury. At trial,

   plaintiff introduced testimony through its expert, Schenk, that plaintiff sustained lost profits in

   the amount of approximately $1.9 million from lost sales plus another $200,000 in price erosion,

   totaling approximately $2.1 million. Tr. 611–12. In addition, Ms. Schenk’s report was admitted

   into evidence without objection by defendants. Tr. 624. In that report, she presents three

   different estimates of plaintiff’s lost profits depending on the selling price employed for the

   calculation, which estimates totaled approximately $1 million, $1.4 million and $2.5 million. Pl.

   Ex. 110 at Tabs 5-7. At no point, then, did the jury simply accept figures from plaintiff’s expert;

   rather, the determination by the jury represents a reasoned, independent determination of the lost

   profits sustained by plaintiff, for which there was ample support in the record.

          Perhaps more troubling is defense counsel’s misconstruction of its own evidence. In the

   brief, counsel repeatedly and vehemently argues that it introduced evidence that defendants’

   profits from the infringing activity totaled $150,000, and that the Court should use this figure in

   evaluating the true scope of the loss. DE 133 at 3 (request to “reduce the amount of damages to

   $150,000”); id. at 11 (verdict “fails in the face of competent evidence that the actual profits

   Defendants realized from sales of the accused product were approximately $150,000” and

   “Defendants only had a profit of $150,000”); id. at 12 (“$150,000 [constitutes] the profits that

   Defendants actually realized from sales of the accused product, because that is the only



                                                    10




                                                Appx10
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   competent evidence of damages that was presented to the jury”).

           The problem with this assertion is that it is simply untrue. Despite these repeated

   invocations of $150,000 as the profits obtained from the infringement, the only reference offered

   by defendants are two pages of the transcript—635 and 636—that contain testimony by

   plaintiff’s expert about her best recollection of information provided by defendants’ expert about

   defendants’ illicit profits. In truth, defense counsel elicited testimony from their expert that the

   profits earned by defendants through their unlawful infringing activities amounted to $390,000, a

   figure more than two and a half times that fervently cited by defendants’ counsel. Tr. 849–50.

   In response, plaintiff’s counsel properly explained the shortcoming of this argument. DE 141 at

   14-15; cf. Tr. 857–58 (plaintiff’s counsel arguing to jury that there was no evidence to support

   $150,000 in ill-gotten gains). In its reply brief, defense counsel has the unmitigated chutzpah to

   maintain its position and make the following argument:

           Dynamite argues that Sherman’s actual profit figure of approximately $150,000
           was inadequately supported by the evidence. See id. That figure is supported by
           admissions from Dynamite’s expert Ms. Schenk (T635:21-636:3), and Dynamite
           does not argue that Sherman’s profit figure is incorrect.

   DE 146 at 8. Counsel’s argument appears to be yet another attempt to distort the record and

   mislead the Court.

           Defendants’ substantive attack chiefly focuses on whether plaintiff’s expert properly

   applied the first two of the four Panduit factors for establishing lost profits, to wit: (1) the

   existence of acceptable non-infringing alternatives and (2) the demand for the patented product

   in the marketplace. DE 133 at 4-8. Of course, these questions were presented to the jury, so the

   issue of whether plaintiff’s expert properly analyzed these questions is of limited significance.

   There was substantial evidence of record of both marketplace demands and the absence of non-

   infringing alternatives.

                                                     11




                                                 Appx11
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          “Mere existence of a competing device does not make that device an acceptable

   substitute.” TWM Mfg. Co. v. Dura Corp., 789 F.2d 895, 901 (Fed. Cir. 1986). This maxim

   applies with particular force in the context of design patent cases, which must focus on

   ornamental features, rather than utilitarian considerations. “To be deemed acceptable, the

   alleged acceptable noninfringing substitute must not [ ] possess characteristics significantly

   different from the patented product.” Kaufman Co. v. Lantech, Inc., 926 F.2d 1136, 1142 (Fed.

   Cir. 1991).

          Perhaps the most powerful evidence of these matters—expressly relied upon by

   plaintiff’s expert—emanates from defendants’ conduct. From the outset, defendants sought to

   offer a product that precisely mimicked the patented features of the Wallet Ninja. More telling,

   however, are defendants’ actions after being confronted with irrefutable information that they

   were infringing the ‘877 patent. Not only did defendants continue to sell through their inventory

   of infringing goods, but they engaged in a faux redesign process that yielded a product described

   by their own expert as a “direct knockoff” and a “direct cloning.” Tr. 822. Plaintiff’s expert

   proffered these actions as evidence of the absence of non-infringing alternatives in the

   marketplace, noting that had such a product been available, defendants would not have engaged

   in a sham redesign process. Tr. 597, 637–38. Thus, defendants’ behavior demonstrates that the

   vein of consumer demand into which they tapped—ultimately selling approximately 800,000

   infringing units—required a product with the patented features, and therefore, would not be

   satisfied with a non-infringing alternative.

          Notably, defendants do not offer non-infringing alternatives on this motion, but merely

   argue that plaintiff’s expert failed to properly consider such items and made the same argument

   to the jury. Tr. 866–67. The jury was then instructed—consistent with the parties’ requests—



                                                    12




                                                  Appx12
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   that to recover lost profits, plaintiff was required to establish “that there were no acceptable non-

   infringing alternatives or if there were, that the plaintiff lost some sales as a result of the

   infringing activity.” Tr. 921. Thus, the evidence supports a determination by the jury that there

   were no non-infringing alternatives or that plaintiff otherwise established lost sales. In a case

   such as this one, involving a low-cost, impulse-buy consumer item, the jury’s determination in

   this regard should be afforded particular weight.

            On this motion, defendants also attempt to resuscitate their failed Daubert motion

   generally challenging plaintiff’s damages expert. DE 133 at 9. However, as this Court

   previously ruled, both Ms. Schenk’s credentials and methodology were more than sufficient to

   meet the requisite standards for admissibility. Tr. 471–73. The Court afforded counsel ample

   opportunity to attack the weight that the jury should accord that testimony. Tr. 472. That their

   efforts failed does not provide a basis for post-judgment relief.

            In short, the evidence amply supports the jury’s considered determination of damages,

   and defendants have failed to satisfy the demanding standard for post-trial relief.

            3. Defendants’ Motion Regarding Validity, Infringement and Willfulness

            Defendants’ Post-Verdict Motion purportedly seeks a new trial or relief from the verdict

   on the grounds of validity, infringement 6 and willfulness under Rule 50(b). Actually, the motion

   embodies a sweeping attack on the verdict unconstrained by the law, evidence, common sense or

   the truth. This may be best exemplified by yet another graphic contained in counsel’s brief, this


   6
     Presumably in an effort to avoid the Court’s page limits, defendants filed several separate motions seeking
   essentially the same relief. The height of this practice is embodied in a yet another motion for a new trial on
   infringement, this time based upon the Court’s refusal to allow one of its principals, Robert Davila, a defendant
   chiefly responsible for the infringement established at trial, to testify as “an expert in the promotional products
   market” and “the ordinary observer.” Tr. 718–22; DE 138. While on this motion defendants present some non-
   binding caselaw suggesting the Court has the discretion, with a great deal of care, to have permitted this testimony,
   counsel fails to note that at the time this application was presented, no such authority was offered. See Tr. 720–22.
   Furthermore, defendants have presented nothing to suggest that they were, in any manner, prejudiced by the
   determination. As such, the Court stands by its decision and the motion is denied.

                                                            13




                                                        Appx13
            Case: 24-1523           Document: 16            Page: 94     Filed: 04/29/2024
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   one submitted in support of counsel’s argument that no rational jury could have found

   infringement:


                     '877 Patent                                    Accused Device




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                                                   (!)
                                                   u::




   DE 135 at 11. In conjunction with this graphic (which materially distorts the patent diagram),

   counsel reiterates its expert’s unsupportable opinion that “there’s quite a bit of difference between

   these two so that the object on the right is not confused with the object on the left.” Id. at 12.

   Even if one were to observe that, consistent with the maxim of res ipsa loquitor, the objects

   depicted above are exceedingly (and confusingly) similar, that is not the question. Nor is the fact

   that one of defendants’ principals admitted that the accused device infringed plaintiff’s patent. Tr.

   736–38. The fact remains that this graphic, the referenced testimony and a sheaf of other evidence

   and arguments by counsel were presented to the jury, which quite reasonably found that the product

   infringed. And that determination was supported by substantial evidence, including testimony by

   plaintiff’s expert that the products were sufficiently similar so as to cause confusion. Tr. 506–11.

   Evidence similarly supported the conclusion that the design was not solely functional.

          The same holds true for defendants’ attack upon the jury’s validity determination. While

   defense counsel relies exclusively upon its expert’s opinion to suggest that the patent design was

   obvious when compared to the prior art, and therefore invalid, there was sufficient reason to

                                                       14




                                                Appx14
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   question these opinions, as well as other evidence of record, that amply supports the jury’s

   determination. Moreover, to the extent the expert’s obviousness analysis centered on using the

   patented device as a patchwork exemplar to stitch together pieces of prior art, such analyses are

   disfavored by the law. See Grain Processing Corp. v. Am. Maize-Prod. Co., 840 F.2d 902, 907

   (Fed. Cir. 1988) (“Care must be taken to avoid hindsight reconstruction by using the patent in suit

   as a guide through the maze of prior art references, combining the right references in the right way

   so as to achieve the result of the claims in suit.”).

           The balance of defendants’ “kitchen sink” motion requires little analysis. For example,

   counsel attempts to attack the jury’s finding of willful infringement based, in part, on a purported

   good faith belief by the Sherman defendants that Cooper was a coinventor, but since Cooper’s role

   was unknown to defendants until long after the infringing acts, even if true, the defense fails.

   Likewise, defendants’ reliance on the ersatz redesign of its infringing product borders on frivolous.

   See DE 135 at 13. Finally, defendants’ argument that the jury verdict form should have required

   the jury to find the dates of infringement is not only an exercise in irrelevance on this record, but

   ignores the fact that defendants never requested such an inquiry be made and failed to object to

   the jury form despite repeated opportunities to do so. Tr. 893–99.

           For these reasons, defendants fail to satisfy the exacting standards to warrant judgment as

   a matter of law and/or a new trial, and the motions are denied.

           4. Plaintiff’s Motion Regarding Enhanced Damages and Attorneys’ Fees

   Given the determination that defendants willfully infringed, the Court retains the discretion to

   “increase the damages up to three times the amount found or assessed.” 35 U.S.C. § 284.

   Generally, the Supreme Court has held that such enhancement is appropriate where defendants

   engage in conduct that is “willful, wanton, malicious, bad-faith, deliberate, consciously



                                                      15




                                                 Appx15
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   wrongful, flagrant, or—indeed—characteristic of a pirate.” Halo Elecs., Inc. v. Pulse Elecs.,

   Inc., 579 U.S. 93, 103–04 (2016). The Federal Circuit has promulgated a non-exclusive list of

   factors to help district courts analyze this question:

           (1) whether the infringer deliberately copied the ideas or design of another, (2)
           whether the infringer investigated the scope of the patent and formed a good-faith
           belief that it was invalid or that it was not infringed, (3) the infringer's behavior as
           a party to the litigation, (4) the defendant's size and financial condition, (5) the
           closeness of the case, (6) the duration of defendant's misconduct, (7) remedial
           action by the defendant, (8) the defendant's motivation for harm, and (9) whether
           the defendant attempted to conceal its misconduct.

   Sunoco Partners Mktg. & Terminals v. U.S. Venture, Inc., 32 F.4th 1161, 1177 (Fed. Cir.

   2022). The Court is not required to discuss these factors but should rather focus on “the

   particular circumstances of the case.” Presidio Components, Inc. v. Am. Tech. Ceramics Corp.,

   875 F.3d 1369, 1382–83 (Fed. Cir. 2017). Nevertheless, most, if not all of these factors could

   well support enhanced damages in this case. The jury’s finding of willful infringement was

   based on substantial evidence of a pattern of bad conduct on the part of defendants, including its

   initial theft of plaintiff’s patented design (which was, at a minimum, reckless), its failure to stop

   selling its inventory of pirated goods after receipt of a cease and desist letter and its utterly

   indefensible mock redesign process.

           In addition, pursuant to 35 U.S.C. § 285, should the Court determine that the action

   represents an “exceptional case,” it retains the discretion to award attorneys’ fees. Perhaps

   unsurprisingly, after years of heated (and costly) litigation in a manner that defendants’ counsel

   concedes was “hard-fought,” DE 137 at 5, plaintiff seeks an award of enhanced damages and

   attorneys’ fees and costs. Plaintiff’s counsel devotes considerable energy to recounting

   defendants’ conduct during the litigation—which was, at times, unacceptable. See generally DE

   136. In considering an application for attorneys’ fees, the Court may consider “the unreasonable



                                                     16




                                                 Appx16
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   manner in which the case was litigated.” Spineology, Inc. v. Wright Med. Tech., Inc., 910 F.3d

   1227, 1229 (Fed. Cir. 2018). And defendants’ approach to this case, which was (and remains)

   highly unreasonable, certainly justifies an award of attorneys’ fees. For example, defendants

   unnecessarily multiplied the proceedings by bankrolling Cooper’s inventorship claims, which

   bordered on frivolity. Moreover, defendants continued adoption of unreasonable positions,

   several of which are cataloged herein, plainly, and unfairly, added unjustified layers of

   complexity and expense to the resolution of the case.

            On this motion, plaintiff seeks attorneys’ fees of $1,134,157.50; expert fees of

   $250,168.86; and costs of $152,317.91, which total $1,536,644.27. See generally DE 136.

   Importantly, in reviewing such requests, “trial courts need not, and indeed should not, become

   green-eyeshade accountants. The essential goal in shifting fees (to either party) is to do rough

   justice, not to achieve auditing perfection. So, trial courts may take into account their overall

   sense of a suit, and may use estimates in calculating and allocating an attorney’s time.” LCS

   Grp. LLC v. Shire LLC, 383 F. Supp. 3d 274, 279 (S.D.N.Y. 2019) (quoting Fox v. Vice,

   563 U.S. 826, 838 (2011)). In addition, plaintiff seeks the discretionary imposition of

   prejudgment interest. 7 While opposing, in general, the imposition of such fees and costs,

   defendants quarrel with a few items, but mostly rely on a general assertion that the figures are

   unreasonable and insufficiently documented. 8 See generally DE 137. Few specifics are

   provided, other than an argument that expert fees are not generally recoverable under § 285,



   7
     Relying upon Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l, Inc., 246 F.3d 1336 (Fed. Cir. 2001),
   defendants argue than an inordinate delay in commencing the action militates against the discretionary imposition of
   pre-judgment interest. But see General Motors Corporation v. Devex Corporation, 461 U.S. 648, 656–57 (1983)
   (“Prejudgment interest should ordinarily be awarded.”). To avoid any question concerning the prejudice from delay,
   and difficulties that might arise from fixing a precise date of loss, the Court will impose pre-judgment interest at the
   U.S. Treasury rate from the date of the filing of this action.
   8
     Based on the Court’s familiarity with this matter, at a macro level, the amounts sought do not seem unreasonable
   given the length and complexity of these proceedings.

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                                                        Appx17
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   though it remains within the Court’s inherent powers to make such an award. For the reasons

   that follow, the Court hereby awards the amounts sought as requested, which will compensate

   plaintiff for the costs of this protracted litigation while simultaneously serving the ameliorative

   purposes of an award of enhanced damages under § 284.

           Plainly, defendants’ conduct, both during the underlying infringement as well as the

   course of the litigation, satisfies the requisite for the shifting of attorneys’ fees and other costs

   and justify the imposition of an award of enhanced damages. The Supreme Court has

   characterized the imposition of enhanced damages as a “discretionary punishment” for “willful

   infringement.” Halo Elecs., Inc., 579 U.S. at 104–05. Traditionally, in other contexts, such

   punitive damages are frequently awarded in small multiples of the amount of compensatory

   damages, a factor that becomes important here. BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 581

   (1996) (cataloging legislative provisions for double, triple or quadruple punitive damages).

   Here, the amounts sought for attorneys’ fees, expert fees and costs—totaling over $1.5 million

   plus interest—is roughly equivalent to an award of double damages, which here would amount to

   an additional $1.85 million. Thus, the Court hereby exercises its discretion to impose attorneys’

   fees, expert fees and costs in the amount of $1,536,644.27 plus pre-judgment interest from the

   date of the filing of the complaint in this action and declines to award enhanced damages.

           Permanent Injunction

           Plaintiff seeks a permanent injunction against the Sherman defendants, who endeavor to

   assure the Court that such an injunction is moot as they claim to have discontinued their

   infringing activities. The Court is unpersuaded that there is no ongoing risk, and therefore the

   motion for a permanent injunction against further infringement is GRANTED as to the Sherman

   defendants. As to Cooper and other non-parties against whom plaintiff seeks a permanent



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                                                 Appx18
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   injunction, such motion is denied.

          Conclusion

          Based on the foregoing, defendants’ motions for post-trial relief are DENIED in their

   entirety. Plaintiff’s motion for the award of fees, costs and enhanced damages is GRANTED to

   the extent described herein. Plaintiff’s motion for a permanent injunction against the Sherman

   defendants is GRANTED, but is DENIED as to all other parties. Plaintiff shall submit an order,

   preferably upon consent, containing the terms of a proposed injunction forthwith.

          The Clerk is directed to enter judgment consistent with this opinion and close the case.


    Dated: Central Islip, New York
          December 1, 2023

                                                       /s/ Gary R. Brown
                                                        HONORABLE GARY R. BROWN
                                                        UNITED STATES DISTRICT JUDGE




                                                  19




                                              Appx19
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                                                                                           Michael Cukor

                                                                                      McGeary Cukor LLC
                                                                                           1460 Broadway
                                                                                      New York NY 10036
                                                                Direct: (973) 339-7367 Fax: (973) 200-4845
                                                                                mcukor@mcgearycukor.com

                                               December 13, 2023

     Hon. Gary R. Brown, U.S.D.J.
     United States District Court
     Eastern District of New York
     Long Island Courthouse
     Central Islip, NY 11722

     RE:           Dynamite Marketing, Inc. v. The WowLine, Inc., et al.
                   2:19-cv-3067 (JMA) (AYS)

                   Proposed Order on Consent Re: Proposed Injunction

     Dear Judge Brown:

     Pursuant to your December 1, 2023 Order (Dkt. 156) Plaintiff, Dynamite Marketing, Inc.
     and Defendants, Sherman Specialty Inc.. and Sherman Specialty Inc. dba THE
     WOWLINE, have met and conferred and Plaintiff submits the attached Proposed Order
     without objection from Defendants.



                                                Respectfully,




                                                Michael Cukor



     Cc: All counsel via ECF




                                           Appx20
              Case: 24-1523          Document: 16         Page: 101       Filed: 04/29/2024
Case 2:19-cv-03067-GRB-LGD Document 157-1 Filed 12/13/23 Page 1 of 2 PageID #: 5735
 IN THE UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  DYNAMITE MARKETING, INC.,

                                  Plaintiff,                            Case No. 2:19-cv-3067 (GRB)
                                                                                   (LGD)
                   v.

  SHERMAN SPECIALTY INC and SHERMAN SPECIALTY
  INC dba THE WOWLINE;

                                  Defendants.


                                 [Proposed] Order for Permanent Injunction


         This Court having conducted a jury trial in this matter, having found that Defendants infringed U.S.

 Patent No. D751,877 (the "D'877 Patent") under 35 U.S.C. § 271, having considered Plaintiff's application

 for a permanent injunction and Defendants' opposition thereto and the entire record herein; having

 concluded that Plaintiff has shown that permanent injunctive relief is appropriate for the reasons stated in

 the Court's Memorandum and Order of December 1, 2023 [Dkt 156] and for good cause shown:


         IT IS HEREBY ORDERED THAT Defendants and their officers, agents, servants and employees,

 and all those persons or entities in active concert or participation with any of them who receive actual

 notice of this Order for Permanent Injunction by personal service otherwise are permanently enjoined

 from:


         infringing U.S. Patent No. D751,877 (the "D'877 Patent") under 35 U.S.C. § 271 by making, using,

 selling, offering for sale, or importing products that are covered by the D'877 Patent, specifically products

 having part numbers TOL4, TOL8 or S11171 or any product that is no more than colorably different from

 the products found to infringe, during the term of the D'877 Patent.




                                                 Appx21
          Case: 24-1523      Document: 16    Page: 102   Filed: 04/29/2024
Case 2:19-cv-03067-GRB-LGD Document 157-1 Filed 12/13/23 Page 2 of 2 PageID #: 5736
 SO ORDERED this __ day of December 2023




                                            ____________________________
                                            HONORABLE GARY R. BROWN,
                                            UNITED STATES DISTRICT JUDGE




                                       Appx22
            Case: 24-1523             Document: 16                Page: 103   Filed: 04/29/2024
Case 2:19-cv-03067-GRB-LGD Document 162 Filed 01/22/24 Page 1 of 3 PageID #: 5745



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------X
  DYNAMITE MARKETING, INC.,

                            Plaintiff,
          - against -                                                  JUDGMENT
                                                                       CV 19-3067 (GRB) (AYS)
  THE WOWLINE INC., SHERMAN SPECIALTY,
  INC., SHERMAN SPECIALTY, LLC,
  WWW.SUPERIORPROMOS.COM,
  WWW.4ALLPROMOS.CO,
  UNKNOWN WEBSITES 1-10, VARIOUS
  JOHN DOES 1-10, and UNKNOW ENTITIES
  1-10,

                             Defendants.
  ------------------------------------------------------------X
  DYNAMITE MARKETING, INC.,

                            Plaintiff,
          - against -

  4TH DIMENSION INNOVATIONS, INC.,
  by and through its former officer, LAERIK
  COOPER, and LAERIK COOPER, individually,

                             Defendants.
  ----------------------------------------------------------X


          This case having been tried by a jury, and a verdict having been rendered on September

  14, 2023, finding defendants’ willfully infringed U.S. Patent D751,877 (the “D’877 Patent”), and

  awarding plaintiff $1,850,000.00 in damages; and

          A Memorandum and Order of Honorable Gary R. Brown, United States District Judge,

  having been filed on December 1, 2023; denying defendants’ motions for post-trial relief in their

  entirety; granting in part plaintiff’s motion fees and damages; awarding plaintiff $1,536,644.27

  in attorneys’ fee, expert fees, and costs, plus prejudgment interest from the date of the filing of

  the complaint (May 22, 2019) to the date of judgment, and the Clerk of Court having calculated




                                                     Appx23
           Case: 24-1523           Document: 16           Page: 104         Filed: 04/29/2024
Case 2:19-cv-03067-GRB-LGD Document 162 Filed 01/22/24 Page 2 of 3 PageID #: 5746




  that amount to be $148,673.061; granting plaintiff’s motion for a permanent injunction against

  defendants Sherman Specialty, Inc., and Sherman Specialty, Inc., dba The Wowline (“the

  Sherman Defendants”); and

          An Order of Honorable Gary R. Brown, United States District Judge, having been filed

  on December 19, 2023, so ordering the proposed injunction, permanently enjoining the Sherman

  Defendants, and their officers, agents, servants, and employees, and all those persons or entities

  in active concert or participation with any of whom receive actual notice of this Judgment, from

  infringing the ‘D’877 Patent under 35 U.S.C. § 271 by making, using, selling, offering for sale,

  or importing products that are covered by the D’877 Patent, specifically products having part

  numbers TOL4, TOL8, or S11171, or any product that is more that colorably different from the

  products found to infringe during the term of the D’877 Patent; and respectfully directing the

  Clerk of Court to enter judgment accordingly and close the case, it is

          ORDERED AND ADJUDGED that Plaintiff Dynamite Marketing, Inc., is awarded

  $1,850,000.00 in damages, $1,536,644.27 in attorneys’ fee, expert fees, and costs, and

  $148,673.062 in prejudgment interest for a total award of $3,535,317.33, plus post-judgment

  interest pursuant to 28 U.S.C. § 1961(a) against the Sherman Defendants; that defendants’

  motions for post-trial relief are denied in their entirety; and it is further




  1 The December 1, 2023 Memorandum and Order awards pre-judgment interest from the date of
  the filing of the complaint in this action. After consultation with Judge Brown’s chambers, it
  was determined that prejudgment interest only applies to the jury award and should be calculated
  using simple interest in accordance with the rates specified under 28 U.S.C. § 1961(a). The
  Clerk has calculated the average interest rate from May 22, 2019 to the date of judgment to be
  2.07%.

                                                      2




                                                 Appx24
          Case: 24-1523           Document: 16         Page: 105        Filed: 04/29/2024
Case 2:19-cv-03067-GRB-LGD Document 162 Filed 01/22/24 Page 3 of 3 PageID #: 5747




         ORDERED AND ADJUDGED that the Sherman Defendants, and their officers, agents,

  servants, and employees, and all those persons or entities in active concert or participation with

  any of whom receive actual notice of this Judgment, are permanently enjoined from infringing

  the “D’877 Patent under 35 U.S.C. § 271 by making, using, selling, offering for sale, or

  importing products that are covered by the ‘D’877 Patent, specifically products having part

  numbers TOL4, TOL8, or S11171, or any product that is more that colorably different from the

  products found to infringe during the term of the ‘D’877 Patent; and that this case is closed.



  Dated: January 22, 2024
         Central Islip, New York



                                                               BRENNA B. MAHONEY
                                                               CLERK OF COURT
                                                        BY:    /S/ JAMES J. TORITTO
                                                               DEPUTY CLERK




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                                              Appx25
            Case: 24-1523                            Document: 16                          Page: 106                    Filed: 04/29/2024

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                                                                                                                 US00D751877S


02)    United States Design Patent                                                          (10) Patent No.:                          US D751,877 S
       Shlaferman                                                                           (45) Date of Patent:                     **      Mar. 22, 2016


(54)    WALLET CARD MULTI TOOL                                                                D528,880 S *          9/2006    Belflower ........................ D8/16
                                                                                              D666,883 S *          9/2012    Howard et al ................... D8/19
(71)    Applicant: Alex Shlaferman, Brooklyn, NY (US)                                         D701,110 S *          3/2014    Symons ......................... D8/373
                                                                                              D707,091 S *          6/2014    Barr ................................. D8/16
                                                                                              D729,023 S *          5/2015    Alho et al. ....................... D8/19
(72)    Inventor:      Alex Shlaferman, Brooklyn, NY (US)                                     D730,131 S *          5/2015    Cornell ............................ D8/19
                                                                                              D732,360 S *          6/2015    Reeder ............................. D8/19
(**)    Term:          14 Years
                                                                                        * cited by examiner
(21)    Appl. No.: 29/483,224
                                                                                       Primary Examiner - Robert M Spear
(22)    Filed:      Feb. 26, 2014                                                      Assistant Examiner - Eliza Bennett-Hattan
(51)    LOC (10) Cl. ................................................ 08-05            (74) Attorney, Agent, or Firm -Michael J. Feigin, Esq.;
(52)    U.S. Cl.                                                                       http://PatentLawNY.com
        USPC ............................................................. D8/19
(58)    Field of Classification Search                                                 (57)                    CLAIM
        USPC .................. D8/16, 18, 19, 20, 105,363,366,                        The ornamental design for a wallet card multi tool.
                                                  D8/370-377, 380-382
        CPC ...... B25F 1/00; B25F 1/02; A45F 2200/0575;
                                                                    GOlB 5/18                                      DESCRIPTION
        See application file for complete search history.
                                                                                       FIG. 1 shows a top plan view of the wallet card multi tool.
(56)                       References Cited                                            FIG. 2 shows a bottom plan view thereof.
                                                                                       FIG. 3 shows a bottom perspective view thereof; and,
                   U.S. PATENT DOCUMENTS                                               FIG. 4 shows a top perspective view thereof.
                                                                                       The broken lines shown in the drawings illustrate portions of
        D33,779 S * 12/1900 Medem et al .................. D8/371                      a triple ring setting for illustration purposes only, and form no
       D218,272 S * 8/1970 Bothe .............................. D8/19
       D241,006 S * 8/1976 Wallace ......................... D8/373                    part of the claimed design.
       D356,243 S * 3/1995 Eckerman ...................... D8/373
       D468,977 S * 1/2003 Graff et al ........................ D8/19                                       1 Claim, 4 Drawing Sheets




                                                                           Appx26
    Case: 24-1523                                   Document: 16                                               Page: 107                             Filed: 04/29/2024



U.S. Patent                              Mar.22,2016                                                     Sheet 1 of 4                                                US D751,877 S




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                                                                                    FIG. 1




                                                                                        Appx27
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U.S. Patent       Mar.22,2016                                            Sheet 2 of 4                                                            US D751,877 S




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                                                           FIG. 2




                                                               Appx28
    Case: 24-1523   Document: 16    Page: 109   Filed: 04/29/2024



U.S. Patent     Mar.22,2016     Sheet 3 of 4          US D751,877 S




                              Appx29
    Case: 24-1523   Document: 16    Page: 110   Filed: 04/29/2024



U.S. Patent     Mar.22,2016     Sheet 4 of 4           US D751,877 S




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                              Appx30
            Case: 24-1523          Document: 16        Page: 111         Filed: 04/29/2024



FORM 19. Certificate of Compliance with Type-Volume Limitations                               Form 19
                                                                                             July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

          Case Number: 2024-1523

  Short Case Caption: Dynamite Marketing, Inc. v. The WowLine, Inc.

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

       □
       ✔        the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               13,983    words.

        □       the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

        □       the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        04/29/2024
  Date: _________________                       Signature:        /s/ Jeffrey L. Snow


                                                Name:             Jeffrey L. Snow
